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                          EXHIBIT 8
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                                                                INTERVIEW WITH EMIGDIO GONZALEZ
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 1
 2
 3
 4
 5
 6
 7                       INTERVIEW WITH EMIGDIO GONZALEZ
 8                               Q=Det. Josh Henderson
 9                                   Q1=Woman
10                                   Q2=Woman
11                                   Q3=Woman
12                                   Q4=Woman
13                                     Q5=Man
14                                A=Emigdio Gonzalez
15                              A1=(Annamaria Sanchez)
16
17
18   Q:             Okay, uh, today’s date’s 9/30/2013. Uh, Report Number’s 13-008988. Uh,
19                  reference the investigation of Uncle Sam’s. Uh, present is Detective
20                  Henderson, badge number 1458, and Emigdio (Greels)?
21
22   A:             Emigdio Gonzalez.
23
24   Q:             Gonzalez. Uh, Emigdio, uh, you have your attorney here with you?
25
26   A:             Yes. Correct.
27
28   Q:             And that is?
29
30   A:             (Annamaria), uh...
31
32   A1:            (Sanchez).
33
34   A:             (Sanchez).
35
36   Q:             Okay, uh, I have, uh, county attorney present also Jamie Oliver. Uh, all right,
37                  Emigdio, um, the first question is, uh, pretty open to you. Um, what
38                  information did you have for us related to the investigation of Uncle Sam’s?
39
40   A:             What information? I was told I was gonna be asked stuff and I’ll answer the
41                  questions.
42
43   Q:             Okay, that’s - that’s fine.
44
45   A:             You know what I mean then?


                                                                                 TRANSCRIPT-22
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46
47   Q:            Yeah. Okay. Uh, how did you hear about the job?
48
49   A:            How did I hear about the job? Uh, from a friend, uh, my brother’s friend told
50                 my brother about the job.
51
52   Q:            Brother’s friend. Okay.
53
54   A:            Yeah.
55
56   Q:            Um, from kind of beginning to end what was the hiring process like?
57
58   A:            Hiring process? You went there, got an application, showed two forms of ID,
59                 filled it out. That’s it.
60
61   Q:            Can I ask what kind of, uh, ID forms of ID that you had to present?
62
63   A:            Uh, my driver’s license and a Social Security card.
64
65   Q:            Okay. Uh, as far as the hiring paperwork what - what kind of hiring
66                 paperwork did you have to fill out?
67
68   A:            Oh, the first thing you fill - fill out an application. Then, they interview you
69                 telling you about the job. You - they tell you about the rules, what you can,
70                 uh, what they expect from you, what’s tolerated, what’s not tolerated. They
71                 give you a, like, a drug thing. You have to sign a paper that you consent for a
72                 drug test. You have to go and, uh, you come in, uh, to Uncle whatever you’re
73                 gonna to be fired. No tolerance on that. Uh, drug use, sexual harassment, stuff
74                 like that. You sign all that. You sign a paper that where you gonna get a
75                 uniform and, uh, you’ll get charged for that first shirt and, uh, that’s it. You
76                 know, they give you the basic, uh - uh, four or five pages about the rules and
77                 that’s it.
78
79   Q:            Okay. Um, and then how long after you filled out this paperwork, uh, did you
80                 begin to start work there?
81
82   A:            The following day.
83
84   Q:            The following day?
85
86   A:            Yeah yeah.
87
88   Q:            Uh, do you know if anyone, like, verified information? E-verified anything
89                 like that?
90


                                                                                 TRANSCRIPT-23
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                                                                    INTERVIEW WITH EMIGDIO GONZALEZ
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 91   A:            I didn’t ask. I just filled it out and waited for get a job.
 92
 93   Q:            All right. Do you know who you had fill out the information? What was their
 94                 position?
 95
 96   A:            Their position was manager.
 97
 98   Q:            Okay. Does he still work there?
 99
100   A:            No, he doesn’t.
101
102   Q:            No. All right. Um, do you know what he did with the - the information that
103                 you provided?
104
105   A:            No, I just filled it out, gave it to him and he said, “I’ll let you know tomorrow
106                 if you can start or not.” And he told me yes. And I came back the following
107                 day to work.
108
109   Q:            Okay. Uh, now your information that you provided, um, was it, uh, your
110                 information that you obtained somewhere or how did you come about the
111                 information that you provided for?
112
113   A:            My, uh, my driver’s license. I went to the MVD and I applied for it when, uh,
114                 it was 1994 when I got it. Uh, my birth certificate and a, uh, at that time there
115                 was okay. They were - that was - they were accepted. I got my driver’s
116                 license. Uh, the Social Security card it’s somethin’ that, uh, you get on the
117                 street. I didn’t know who - I don’t know who was the guy. I just had
118                 somebody that helped me out, you know, get it, ‘cause that’s all I needed. My
119                 driver’s license was my other ID.
120
121   Q:            Was it somebody that you heard through the company or somebody that...
122
123   A:            No no no that. I’ve been here for a little bit over eighteen years.
124
125   Q:            All right.
126
127   A:            That’s when I got it about eighteen years ago, a little bit less when I got that
128                 number that card.
129
130   Q:            Do you remember where about roughly you got it from?
131
132   A:            No, it was. And like I say, I didn’t - the person that brought it was, uh. You
133                 know what, it was somebody somebody knew that, uh - that, uh, I never got to
134                 see the person. When I got it, it was just. And when I got it, it was, uh, when I



                                                                                     TRANSCRIPT-24
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135                 was trying to apply for a job in a field working at a farm. And, uh, that’s when
136                 I got it and I used that one.
137
138   Q:            Okay and so you presented that to the - a manager...
139
140   A:            Yes.
141
142   Q:            ...the hiring manager?
143
144   A:            Yeah that and my ID, my driver’s license.
145
146   Q:            Then he just probably copied it and gave it back or…
147
148   A:            I don’t - I don’t know. He just took it, took information, then brought it back
149                 to me and, uh, “I’ll let you know.” He sat down and told me, you know, rules,
150                 what they expect, what they don’t want accepted and stuff like that. And, uh,
151                 they told me, “I’ll let you know if, uh, if we, you know, we’re, uh, needing.”
152                 And the following day to come.
153
154   Q:            Okay. And - and just to - to kind of verify. You say your license was good
155                 because you got to MVD and…
156
157   A:            No my - my driver’s legit. It’s been - I got it since ’94.
158
159   Q:            And the birth certificate you got too from? The birth certif- birth certificate?
160
161   A:            Yeah my birth certificate. I got mine.
162
163   Q:            Okay, um, all right. As far as, like, uh, the forms and stuff that you had to fill
164                 out did you completely fill them out or did you - did they have you just fill out
165                 a portion of it or?
166
167   A:            I filled out the application, but, uh, my attorney showed me the date is not the
168                 one I started to work there. I started to work there in 2010 in June. And I
169                 believe that application says 2007. I wasn’t there in 2007. I was working in
170                 construction at that time. ‘Cause I worked from ‘94 to 2009 in construction. I
171                 was framing. I was a framer...
172
173   Q:            Uh-huh.
174
175   A:            ...for 15 years.
176
177   Q:            Yeah.
178



                                                                                   TRANSCRIPT-25
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179   A:            That company that I used to work when closed its doors when the economy
180                 went down and, uh, we all got let go pretty much. I struggled for a whole year
181                 without a job and, uh, I had to find something to support my family with.
182
183   Q:            So that - that form that they showed you that had the wrong date on it?
184
185   A:            Yeah. No, the one I see right here has the wrong date ‘cause I didn’t start there
186                 in 2007. I started there in 2010.
187
188   Q:            Okay, do - do you remember being handed a form like that when they...
189
190   A:            Yeah that seems p- the one that, uh, has that, uh, withholding and all that stuff
191                 yeah I remember that one.
192
193   Q:            Uh, do you remember puttin’ a date on there?
194
195   A:            No.
196
197   Q:            No? So did they just have you sign it and that’s it?
198
199   A:            I filled it out, put the date. I don’t know if they crossed it out. I - I’m pretty
200                 sure I put the date that I started the day that I filled it out.
201
202   Q:            Uh-huh.
203
204   A:            But that date not the one I started there.
205
206   Q:            Okay. All right. I’m - I’m tryin’ to kinda collect on how the date, you know,
207                 that - that’s wrong obviously that you didn’t put on there if there was a portion
208                 of that was not filled out. They left it blank and just had you sign. Is that what
209                 I’m kinda?
210
211   A:            I filled it out. I think I shoulda - I - I normally try to fill out or complete my
212                 stuff and, uh, I think I shoulda put the date correctly. I don’t know but that
213                 date’s not the one where I start. I can prove it with my, uh, my taxes form
214                 when I did my taxes.
215
216   Q:            Okay. So you’re not sure if you completely filled it out?
217
218   A:            Mmm.
219
220   Q:            Or if?
221
222   A:            I’m - I think I did but if ‘cause like I said that - that’s not the date I put in
223                 there. ‘Cause I didn’t start that date.


                                                                                     TRANSCRIPT-26
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224
225   Q:             Is there a signature on there?
226
227   A:             Yes.
228
229   Q:             Is that your signature? Does it look...
230
231   A:             Yes yes.
232
233   Q:             ...like your signature? Okay.
234
235   Q1:            When...
236
237   Q:             Go ahead.
238
239   Q1:            Detective when did e-, uh, verify come out?
240
241   Q:             Uh, 2006 October.
242
243   Q1:            And when was they were required t- to e-verify it?
244
245   Q:             It was 2007.
246
247   Q2:            January 1, 2008.
248
249   Q:             Yeah Octo-
250
251   Q2:            January 1, 2008.
252
253   Q:             Yeah October 2007 and then January 2008.
254
255   Q1:            Was the date of?
256
257   Q:             Effective.
258
259   Q2:            Effective date that, uh, Arizona was bound under the LAWA to...
260
261   Q1:            Two thousand.
262
263   Q2:            ...implement, uh, e-verify in Arizona. Every Arizona business had to do e-
264                  verify starting in 2008.
265
266   Q:             Yes.
267
268   Q2:            But there was a grandfathering clause for those who were likely hired prior...


                                                                                  TRANSCRIPT-27
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269
270   Q1:            To 2008.
271
272   Q2:            ...to January 2008.
273
274   Q1:            Ah.
275
276   Q2:            Okay, so, that’s very critical in terms of who was hired before, who was hired
277                  after.
278
279   Q:             Yeah, ‘cause you’re hired in 2010.
280
281   A:             Yes.
282
283   Q:             Yeah. Okay, now as far as you’re - you’re a manager correct?
284
285   A:             I was working as manager.
286
287   Q:             At which location, the Shea?
288
289   A:             I was, well, I was one year at 32nd and the last year I was in 32- in 83rd.
290
291   Q:             Okay so kinda get the (seek of).
292
293   A:             I started at 83rd and I was there for seven months as a cook and, uh, later on
294                  they offered me to help them out as management and they would train me. I
295                  said, “Yep.” I needed the extra money. I was making $7.50. When I was in
296                  construction doing $25 an hour, I was strugglin’ real bad so I - yes I’ll take the
297                  step up. They trained me. Uh, they trained me at the other store they had.
298                  They had a 90th Street store that which is they sold already and, uh, they
299                  trained me there for a month and they finished trainin’ me at 32nd. They left
300                  me there for a year and after that they moved management around ‘cause they
301                  wanted to see if something would work better. You know, you know, not
302                  getting too comfortable in one area and so they moved me to 3- 83rd. And, uh,
303                  I was there for last year.
304
305   Q:             Now as, uh, the - the manager what kind of job duties did you have?
306
307   A:             It was not - my managing was just receiving merchandise, uh, making sure,
308                  like, everything was running smoothly, taking care of customers, taking -
309                  making sure everybody came to work, who didn’t come to work. Try to, uh,
310                  sometimes we had to hire. I had to fire a few guys, uh, yeah that was it. We
311                  didn’t order stuff. He ordered it or my boss’ used to or- he’d get all the
312                  inventory. He did order everything. We just make sure we received what he



                                                                                   TRANSCRIPT-28
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313                  ordered or was it received? Mark it off and make sure everything went right
314                  good.
315
316   Q:             Okay, um, as far as you said you hired and fired guys. Uh, as far as that, uh,
317                  what kind of, uh, I mean did you have to go through somebody else to do that
318                  or did you have to clear it with the owner?
319
320   A:             No, they - the only thing we did was, like, we had application - the same
321                  application. When somebody came over ask for a job we filled it out. We
322                  asked only for two proofs of ID which some people brought me an ID, a
323                  Social Security card. Some people brought a resident’s card, citizenship card.
324                  We just filled that out and that was all we did.
325
326   Q:             You just, uh, you when you say filled out you just copied the information on
327                  the IDs onto another form?
328
329   A:             They filled it out.
330
331   Q:             They filled it out?
332
333   A:             They filled it out. That’s...
334
335   Q:             And you just took it?
336
337   A:             And we just took it. We’ll put it in his - one of his, uh, he had a bag he put
338                  there. Put it there. At the end of the day, he always went everyday he’d run
339                  there to pick up his stuff.
340
341   Q:             When you say he who are you talking about?
342
343   A:             My, uh, Bret.
344
345   Q:             Oh okay.
346
347   A:             He went - everyday he went to pick up his stuff, like, all the credit cards that
348                  we were, you know, all the paperwork from the bank and stuff like that.
349                  Picked it up, checked, got everything with his bag, left. The, uh, only time he
350                  had a, like, stood and talked to us when he saw something was going wrong
351                  and he had to address it. Like, you know, did you do this? For example, if I
352                  didn’t, if I checked in some merchandise and I missed something he will tell
353                  me, “Hey, you forgot something here. Make sure you keep an eye on it.”
354                  That’s it. It was, like, was, uh, no news was good news. If he didn’t talk - tried
355                  to talk to me, I didn’t. We just said, “Hi.” “Hi.” That was it.
356
357   Q3:            Emigdio did - did he require you to make copies of their identification?


                                                                                   TRANSCRIPT-29
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358
359   A:              No.
360
361   Q3:             Is that a discussion that you guys had or is it he never asked?
362
363   A:              He never - he never told me to do that.
364
365   Q3:             Okay.
366
367   A:              He never asked me. He just told me make sure they bring two forms of ID and
368                   that’s it.
369
370   Q:              So on the two forms ID, they just showed you and you looked at it?
371
372   A:              They just show me. They just show me and they filled it out and that’s it.
373
374   Q:             Now on the, when you look at the ID, if you thought - did you ever think for
375                  once that if - if it was a good. I know you’re not certified or anything like that,
376                  but was there - did you ever have question the ID or the?
377
378   A:              I - I never question nothin’. I just got it, filled it out, and I never.
379
380   Q:              Okay. Um, now if they couldn’t provide one of the forms of IDs that they’re
381                   required to, uh, would you call somebody and say, “Hey they, you know, can
382                   only provide this?”
383
384   A:              No, they fill out the application then, uh, the boss would tell us - he would tell
385                   us Bret, “Call him back, interview him.” And that was it. We call ‘em,
386                   interview ‘em. We’d tell ‘em what the rules were, you know, what we expect
387                   from them, we do- what we don’t tolerate. And, uh, that’s, uh, you know,
388                   what could happen if they just calls out and don’t come to work one day that
389                   we need ‘em. You know you know. And we told ‘em the rules. They accept it.
390                   And, okay, if you want to work come and work.
391
392   Q:              Okay, just so I understand right, uh, you would get a call from Bret after he’d
393                   pick up the file?
394
395   A:              No, we don’t. We would - the following day he’d come by and he’d say,
396                   “Okay.”
397
398   Q:              Oh, he’d - he’d tell you in person.
399
400   A:              Yeah. He would come in...
401
402   Q:              Okay.


                                                                                        TRANSCRIPT-30
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403
404   A:             ...the following day...
405
406   Q:             So then he would...
407
408   A:             ...and he, like, “Go ahead and, uh - uh, somebody quit. Hire somebody. Get
409                  somebody.”
410
411   Q:             Okay, so he’d pick up the file and then the following day say, “Okay, he’s
412                  good to go. Call him back and hire him.”
413
414   A:             Yeah.
415
416   Q:             Okay, uh, and then the file paperwork you never saw that again once he
417                  picked it up?
418
419   A:             No, once it’s gone, I never saw - I never know where his office was or
420                  nothin’.
421
422   Q:             You never knew that about him?
423
424   A:             Well I never asked. I never knew where his office was at. He just picked up
425                  his stuff, took it, and that was it.
426
427   Q:             Okay. And then as far as termination, when you had a problem with an
428                  employee or somethin’ like that how did that process work?
429
430   A:             Depend. We had warnings because sometimes, you know, there were some
431                  guys that we found out what the reason they, you know, didn’t come to work.
432                  You know, there were some reasons that were tolerated, some which they
433                  weren’t. Like, if they went and they were out partying and they just let - they
434                  blew us off on a Friday when we’re busy, we told them, you know. ‘Cause we
435                  most of them everybody knew each other so they knew where they were at. So
436                  we found out they were doin’ that, you know, you’re done. You - we need you
437                  guys. There’s a reason we have you here. But if we were find out it was a
438                  health issue or family issue, no problem. You know, we’ll end up, uh, a
439                  person we can call somebody up and fill in the spot and, uh, the followin’ day
440                  that person will come in. It was, like, we knew people that were playing with
441                  us and people that weren’t because we find out with all the friends.
442
443   Q:             Right.
444
445   A:             Oh we were out at a concert. Oh we were out at the lake. Oh we were over
446                  here. And, uh, that day we had a hard time because we had especially on a
447                  busy day one day Fridays, Saturdays, or Sundays when we were missin’ a


                                                                                  TRANSCRIPT-31
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448                  person like a - a cook or a server whatever. Uh, it made us struggle through
449                  that day. So, the per- the employees already knew. If it was a non-call. No call
450                  no show and we found out they were just ‘cause they don’t want to show up
451                  then my boss said, “Oh they don’t - they’re not interested in a - in having a
452                  job. We don’t - we need responsible people.”
453
454   Q:             Okay so the let’s just give an example. The no show no - no call.
455
456   A:             No call no show.
457
458   Q:             You let the owner know?
459
460   A:             Yeah.
461
462   Q:             Bret?
463
464   A:             Yeah. He would ask, “You guys ask around where they are. See if they’re sick
465                  or they’re flat tire. Do they, uh, ask. Find out what the problem is.” And if it
466                  was because we find out they were at a party or whatever place then don’t let
467                  ‘em, don’t take ‘em back. Why? Because they gonna do it again and again...
468
469   Q:             Right.
470
471   A:             ...and again. And if it was a health issue we found out what happened. Oh, I
472                  have a flat tire. Okay.
473
474   Q:             So would he have you guys tell them in person when they show up the next
475                  day to work?
476
477   A:             Yeah he’ll call. Because we had - he’d call us every morning, every afternoon,
478                  every night, you know, to keep updated. Who showed up? Who didn’t show
479                  up? Everything good?
480
481   Q:             Bret did?
482
483   A:            Yeah, we were - we had constant communication daily. Like, if I was the
484                 opening manager he would call me in the morning, “Everything went okay
485                 last night? They close up?” Yep. Uh, did he find anything wrong? No, they -
486                 they left the coffee out. Then you have to, you know, tell the guys how to run.
487                 You have to make sure you wash everything. You know, he’ll make - call me
488                 in the mornin’, “Did everybody show up?” “Yeah, I’ve got everybody here.
489                 This guy’s coming late because he’s in traffic.” “Okay.” “Uh, well this person
490                 didn’t show up.” “Why is that? Yeah, find out what’s going on and let me
491                 know.” Then, uh, he’ll call me again at 3:00 when we did bread order. And,
492                 uh, we order our bread and at the after- the shift change he’ll call us again.


                                                                                  TRANSCRIPT-32
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493                  “Everybody in?” “Yeah.” “Everything ok?” “Yeah.” Okay. We were in
494                  constant communication the whole day. Find out everybody went in.
495
496   Q:             Now you’re - you’re talkin’ to both places. Um, did you ever see or hear of an
497                  instance where, um, somebody was either terminated or never showed up or
498                  let go and they came back to work another time?
499
500   A:             What do you mean came back?
501
502   Q:             Like, not necessarily terminated. They, uh, somethin’ where they just didn’t
503                  show up. You didn’t know what happened to ‘em, um. You found out later w-
504                  was it kind of, like, one of those where they slept in or partied or somethin’
505                  like that. But l- what I’m tryin’ to get to is was there ever an employee that,
506                  uh, that stopped workin’ there for a while and then came back to work again?
507
508   A:            Sometimes if, uh, he found out what was the reason, like, that happened and it
509                 was, like, a legit explanation and we fired. He, you know, he - he thought the
510                 person was honest especially with some people that were there for a longer
511                 time. You know sometimes, uh, health or car problems would beat it and, uh,
512                 or somethin’ because they got a better job interview at another place and they
513                 just didn’t want to let us know. They would stop working, but even though
514                 they were good workers who became more and told, like, “I need I find
515                 another job and I didn’t want to say it because you were gonna get mad at
516                 me.” And stuff like that. And, uh, he thought it was a good employee, he’ll let
517                 ‘em come back. Sometimes, you know, the job right there was not that good
518                 pay $7.50. It - it was - it’s $8 dollars right now that they’re paying, but most
519                 of the people have two jobs.
520
521   Q:             And when those people came back, did they have to refill out hiring
522                  paperwork?
523
524   A:             That I don’t know.
525
526   Q:             Okay.
527
528   A:             Because I - I was - I would let them. I’ll - it was few about that happened like
529                  that because he normally didn’t hire people again if they, you know, if they
530                  did it for a reason that, you know, blowin’ us off for a - another job. If he’d
531                  say,”If you guys don’t like it here, if you’ve got a better job. Okay, you can go
532                  ahead.”
533
534   Q:             Yeah. Now at the, uh, the pla- the restaurants you worked at do you keep
535                  some kind of, like, um, timesheet or roster on who worked the day - that day?
536
537   A:             Yeah, there was a timesheet.


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538
539   Q:             Okay and the - and the names on there, um, those names match the people
540                  that’re workin’ there?
541
542   A:             Yeah.
543
544   Q:             Okay, um. Can you think of anything else that, um, would be important for us
545                  to know as far as, um, I mean ‘cause. Emigdio, what we’re lookin’ for is, I
546                  mean to be honest is, I want - I want information that I - that I can go after the
547                  owner Frimmel Management.
548
549   A:             Mm-hm.
550
551   Q:            Okay? Um, as far as, you know, normally hiring people that don’t have good
552                 information. All right that’s basically what I’m lookin’ for. All right? Um, I
553                 mean most of the stuff that you told me, I - there’s really nothing there that I
554                 can really go off of. I mean, do you know of anything that I can look into or
555                 kind of do - uh, investigate that would help me in that load? Because
556                 otherwise, I mean, I don’t really see what - I - I com- completely, uh,
557                 appreciate you bein’, you know, honest and telling me everything and that’s
558                 what I expect. I don’t want you to tell me stuff that ‘cause, you know, to blow
559                 smoke up it.
560
561   A:             Uh-huh. That’s the - that’s the reason, like, I told her, you know, do you want
562                  to ask me stuff? I’ll answer all I have, you know. I don’t want to make up
563                  stuff from, you know.
564
565   Q:             Yeah. No. I don’t want you to do that.
566
567   A:             I just want to answer that you guys want me. And I’ll answer as honest as
568                  possible. I - th- my mistake was work without a permit.
569
570   Q:             Yeah.
571
572   A:            I’ve been doin’ that for a while. I was brought here since I was 1 year old. Uh,
573                 they raised me here for, uh, 12, uh, 11 years. I went to school here. When they
574                 took me back to Mexico, I saw the difference. I didn’t want to do that with my
575                 family so when I got married I decided to bring my family here. And I knew
576                 the consequences. But I knew what was taken away from me. And I wanted
577                 my family not to have that. I wanted my family to have a better opportunity
578                 than what I had. And, uh - uh, for my job, you know, he was pretty strict, he
579                 didn’t, you know, we didn’t get to much talk. You know, we were - all we did
580                 was work related. When he called me in the morning, just everybody in,
581                 everybody out everybody, you know. I didn’t get to. The only thing I do know
582                 I never s- I never knew where his office was. He always picked up his stuff


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583                   here, took it and took care of it. Brought payroll back there and the - and the
584                   mail. I got it out, put it there. He picked it up, separated the checks from each
585                   place, each restaurant. Took ‘em. And, uh, pretty much basically that’s it.
586
587   Q:              So he didn’t say much other than?
588
589   A:              No, you could - you - it was hard to get him at the place. He was just there
590                   and, uh, get his stuff and out. That was one visit a day.
591
592   Q:              Okay.
593
594   A:              And that was it, and fill out the paperwork, uh, I just like I said my job was to
595                   receive merchandise all the beer, all the wings, all the produce that came in.
596                   Check it in, make sure everything was right. And the only time he talked to
597                   me when I - I did somethin’ wrong. And, “You did this wrong. You need to
598                   pay attention. Next time, make sure you check this, check that.” Okay and I
599                   just try to learn the way he wanted his stuff done. Fill it out and he used to
600                   say, “If I don’t talk to you that mean everything is good. If I talk to you, then
601                   you did somethin’ wrong.” And that was it.
602
603   Q:              Was there anybody out there that he talked to a lot?
604
605   A:              Uh, a lot. With, uh, 3- uh, 83rd we were the three managers which was
606                   (Derek), (Ken) and me. He only - whenever he had a talk with us and, uh, let’s
607                   say address a problem. He would just take us to the patio, “What happened
608                   with this pr- uh, this order? Why you just crush ‘em and call ‘em back?” And
609                   that was it. With us, he didn’t talk that much. The only person that he had
610                   more communication with was, uh, Lisa. Him and Lisa were pretty much, uh,
611                   both of were running the business. She would come in too, you know, check
612                   us out. Everything was okay. If not, she’ll tell us, “You guys are doing this
613                   wrong, that wrong.”
614
615   Q:              Okay.
616
617   A:              Yeah.
618
619   Q:              All right.
620
621   ((Crosstalk))
622
623   Q4:             Go ahead. Go ahead.
624
625   Q2:             Oh, um, Emigdio (unintelligible) in court.
626
627   A:              Oh okay.


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628
629   Q2:             Um, did, um, were there ever in the place of employment at Uncle Sam’s at
630                   either one of the two stores, either by Bret or by Lisa, were there - did they
631                   ever direct any racial slurs at you or any of the employees?
632
633   A:              Uh, him no. He was real respectful even. Uh, with me, he was real - I never
634                   had any problem with him. He was, like I said, respectful, never did. Uh, he
635                   was loud when somebody made a mistake. You know, he made ‘em know that
636                   they were doin’ wrong, but I never saw him, you know, from him out of hand
637                   no. It was like somethin’, you - you’re not doing it right and you’re, like,
638                   stubborn he would yell, you know. “Why?” You know? But, Lisa was a little
639                   bit more harsher.
640
641   Q2:             Okay, how so?
642
643   A:              Sometimes she would like, you know, yell for a little thing and they used to
644                   say that they have to make little things big so that person won’t continue doin’
645                   it. You know, make it a big deal even though they were small things, you
646                   know, like, not taking to a refrigerator somethin’ that’s gonna to get go bad,
647                   even though it’s one little thing. She was a little bit more. She took it a little
648                   bit step - a little step further.
649
650   Q2:             And did they ever know your - your legal status or ability to work in the
651                   United States?
652
653   A:              I never, you know, it was somethin’ I was tryin’ not to them to know. I don’t
654                   know if they did know, but I’m pretty sure they did. That - that, I’m trying not
655                   to. You know, if everybody thought was okay because I speak English and I
656                   have an ID. And so I always try to, like, I guess not to sh- how - how can I put
657                   it? I wanted to protect I have my job so I just tried not to. You know, if they
658                   didn’t ask me, I wouldn’t say nothin’.
659
660   Q2:             Were you treated any different than the other employees that were more - that
661                   - that were not as assimilated as you or didn’t speak English as well as you?
662
663   A:              Not from him. Lisa was a little bit more when they didn’t understand
664                   somethin’. Like, when she was trying to ask ‘em something, “Don’t you
665                   understand?” You know, a little bit more.
666
667   Q2:             And she didn’t say anything else?
668
669   A:              Well, uh, like what?
670
671   Q2:             No, I’m asking you.
672


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673   A:              Not that I heard of, you know? Because, like I said, towards me I only from
674                   them was respectful. She was a little bit more when she used to yell at me.
675                   Not, she didn’t yell at me but when I did somethin’ wrong she, like, make it
676                   exaggerated. So I used to go and tell him, you know, just tell me what I did
677                   wrong. I’ll work on it and I’ll fix it, you know? Let’s try to get better but, you
678                   know.
679
680   Q2:             Okay.
681
682   A:              But don’t go too far.
683
684   Q5:             Let me ask you this. Did - you said you were a little bit different because you
685                   spoke English very well and you had some IDs. So, were there the rest of the
686                   people most of the people...
687
688   A:              What differently? Not differently.
689
690   Q5:             No no. I’m saying did the rest of the workers speak English as well as you?
691
692   A:              Uh, some. Some did, some don’t.
693
694   Q5:             Were there some that didn’t speak any?
695
696   A:              Yeah there were some that don’t speak any at all.
697
698   Q5:             What about did any of those guys have IDs as far as you know?
699
700   A:             Not that - not - ‘cause I - whenever I got there they were already there so I
701                  didn’t - I never asked them for ID or nothin’ like that.
702
703   Q5:             Now tell me if this is true, I - I’ve talked to some people who said, “Well,
704                   everybody knew. Every-” Well, hang on, let me finish.
705
706   A:              Yeah.
707
708   Q5:            They said that, “Everybody knew that the papers that we had were fake.
709                  Management knew, Bret knew, uh, you know, everyone knew that if we didn’t
710                  have ‘em, we’d go get ‘em and give ‘em bad papers and they’d never check.
711                  And when he needed more employees, he would just call or he would tell us
712                  because he knew we could get more people like this.” Uh, and so essentially
713                  the culture was that everybody sort of knew what was happening, but, you
714                  know, they - they sort of pretended by turning in these fake papers. Were you
715                  aware that that was happening?
716



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717   A:              Among us - among us employees we all used to ask ourselves, you know, are
718                   you oh this and that. We knew, you know among, but we never, like, talked
719                   with them or nothin’ like that.
720
721   Q5:             Like what with them?
722
723   A:              When we were like, y- you know, we used to ask each other, you know, are
724                   you ok? Are you this? Are you that? Everybody the employees did know.
725                   They say that...
726
727   Q5:             Hold on. You started speaking in - in without specifics. Are we talkin’ about
728                   we all knew that we didn’t have papers?
729
730   A:              No, we know. Now, I’m talkin’ about the cooks.
731
732   Q5:             Sure.
733
734   A:              The cooks. You know, they talk to each other.
735
736   Q5:             What did they say?
737
738   A:              And because I talk and spoke Spanish they told me, you know, I - they - we
739                   used to talk and they used to like, “Hey do you know this guy? Know that guy
740                   and this?” Among us, we did talk about that - having that situation.
741
742   Q5:             What situation?
743
744   Q2:             What situation?
745
746   A:              That didn’t have legal papers.
747
748   Q5:             Right. So the employees all knew right?
749
750   A:              Yeah yeah. Everybody took, all the employees talked to each other.
751
752   Q5:             Okay, so among you - among all of the employees essentially everybody
753                   knew that most of the people there didn’t have papers?
754
755   A:              Not most of them, uh, most of the cooks, uh, you know, the, uh, servers they
756                   were all women. They all were.
757
758   Q5:             Okay, what about that were...
759
760   A:              The cooks were the ones that were not legal.
761


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762   Q5:             Okay.
763
764   A:              Most of ‘em. Most of ‘em. Not all of ‘em.
765
766   Q5:             What about the dishwashers?
767
768   A:              The dishwashers too. Uh, cooks and bussers.
769
770   Q5:             Everyone knew they were not legal?
771
772   A:              You’re talking about everybody- all of us in there, yeah. You know, the cooks
773                   and us, you know, my copartners. Yeah.
774
775   Q5:             Sure.
776
777   A:              Yeah.
778
779   Q5:             Okay, what about the servers?
780
781   A:             Some servers, not all of ‘em had an ID. Some of ‘em did. But it never asked,
782                  you know. You know, “Do you have an ID of someone?” But, uh, they never
783                  like, it was not, like, um, a thing to be talkin’ about. You know, if someone
784                  knew, they’d think, “Okay.” They didn’t care.
785
786   Q5:             Okay. What about the manager? Did they ever train you, uh, to let them know
787                   if you knew somebody was there without papers? To let Bret know or to let
788                   Lisa know so that they could turn...
789
790   A:              Training, no. They didn’t train us for that.
791
792   Q5:             Okay.
793
794   A:              They only trained us how to make sure stuff was received and, uh, make sure
795                   all the food had to go out. And, uh.
796
797   Q5:             What about when you were trained to hire people?
798
799   A:              They never trained me to hire people. They just told me to fill out an
800                   application, bring two forms ID, that’s it.
801
802   Q5:             Okay, so they did something.
803
804   A:              They did.
805
806   Q5:             They told you to look for something.


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807
808   A:              Yeah.
809
810   Q5:             Just they were telling you if - if you know that the person is not clear legally,
811                   or if you’re turning in false papers to, uh, put a note on it or let us know? To
812                   let Bret know right?
813
814   A:              No, just bring two forms of ID, have them fill it out, put it in his folder and he
815                   can take it.
816
817   Q5:             Without copying the IDs?
818
819   A:              Yeah, we didn’t copy nothin’.
820
821   Q5:             And did you ever have to do any follow up with any of the employees?
822
823   A:              No.
824
825   Q5:             What percentage of the employees would you say spoke Spanish?
826
827   A:              Spoke Spanish? The whole kitchen.
828
829   Q5:             What about the rest of the employees?
830
831   A:              Mmm, no. ‘Cause the cooks and the bussers spoke Spanish. The servers they
832                   all spoke English because they needed to speak English to people to be on the
833                   floor.
834
835   Q5:             If somebody didn’t have papers and they needed some, where - where would
836                   they want to go?
837
838   A:              Don’t know.
839
840   Q5:             No one ever told you where they?
841
842   A:              No. I never asked. I never.
843
844   Q2:             So when you got hired, um, give me estimate of how much you started - what
845                   was your wage?
846
847   A:              $7.50 an hour.
848
849   Q2:             Okay and you said that you were moved up to manager right?
850
851   A:              Yes.


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852
853   Q2:             In the kitchen right?
854
855   A:              Manager in the restaurant, the whole thing.
856
857   Q2:             Manager in the restaurant? Oh not just the kitchen?
858
859   A:              No, not the kitchen, the whole thing.
860
861   Q2:             And were you given a raise?
862
863   A:              Yes.
864
865   Q2:             What was your raise?
866
867   A:              Uh, from $7.50 it went up to $3200 - $3200 - $3 - $3, uh, $32 hundred
868                   thousand five hundred. It was a - a salary.
869
870   Q2:             That’s a nice salary.
871
872   A:              It was a salary, $32,500.
873
874   Q2:             Okay.
875
876   A:              I was gonna divide it in, uh, the whole year.
877
878   Q2:             Right.
879
880   A:              It just broken up in, uh, biweekly checks.
881
882   Q2:             And how long were you in that position before you...
883
884   A:              Two years. How long was I a cook?
885
886   Q2:             At $7.50?
887
888   A:              Seven months.
889
890   Q2:             You must have been a very reliable employee.
891
892   A:              Yep. ‘Cause what I was making in construction $25 was still not enough.
893
894   Q2:             Sure, I know.
895
896   A:              I had to work.


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897
898   Q3:             Emigdio, did - did Lisa ever, um, pick up any of the applications?
899
900   A:              Lisa?
901
902   Q3:             Yes.
903
904   A:              No. Everything was picked up by Bret.
905
906   Q3:             Okay, and - and...
907
908   A:              She just make sure that everythin’ was for 83rd. She had to put the 83rd
909                   number on the bottom, you know if it was going to be for, uh, 32nd, you put
910                   the which store you gonna work.
911
912   Q3:             And did sh- um, did Bret tell you specifically what type of IDs you needed to
913                   collect when someone was filling out an application? Did he say, “I need a
914                   Social Security card and then I need to have verification that they are, um,
915                   legally able to work in the United States?”
916
917   A:              No.
918
919   Q3:             Did he ever explain to you that process?
920
921   A:              No. He just said two forms of ID. That was it.
922
923   Q3:             And what kind of forms of ID could they bring?
924
925   A:              He said driver’s license, Social Security card, something that had a picture on
926                   it was one. And the other was a Social Security card. That was it.
927
928   Q3:             Okay.
929
930   A:              Some brought like I said a - uh, driver’s license, an ID. Some brought a, uh,
931                   the resident card and a Social Security card. One or the other one. And that
932                   was it.
933
934   Q3:             And then you would allow them to put that information on the application?
935
936   A:              Mm-hm.
937
938   Q3:             Um, did you have to put that information on the application?
939
940   A:              We just have to make sure that we saw it, what they were puttin’ on there.
941


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942   Q5:             How did the people that didn’t read English fill those out?
943
944   A:              They have friends at home.
945
946   Q5:             Oh so they would take them home?
947
948   A:              Yeah we’ll give the applications, they’ll take it home and they could bring it
949                   back.
950
951   Q3:             I don’t have any other questions. Thank you.
952
953   Q2:             I’m good too.
954
955   Q:             Uh, I had one, um. When you said that everybody talked about it right,
956                  amongst the cooks or the servers that they were, you know, they suspected
957                  each other being there not legal - illegally, um, was that, like, uh, a just a, I
958                  mean, a question of well did you have a Social Security card? Did you have a
959                  fake Social Security card, a real Social Security card?
960
961   A:             No, it would be like when they, uh, sat down or whenever they were, you
962                  know, out of work or whatever, it was just ask each other ‘cause everybody
963                  had the cur-, that, uh, how do you call it? The curiosity of what’s going, you
964                  know, the new guy. And ask him questions. It was not like a conversation that
965                  was going on a daily business. It was somethin’ like when he first starting
966                  people ask him, you know, questions. Where you from? Where you come
967                  from? What are you doin’? Uh, stuff like that and they were I little hear there
968                  this and that. And they were talking just among them.
969
970   Q:              They ever ask each other, like, “Did - hey the Social Security card is it a good
971                   one? Is it a fake one? Uh, the ID that they have, is it good ID or fake ID?”
972                   Was that ever brought up?
973
974   A:              Um, I’m pretty sure among them they did.
975
976   Q:              When you say pretty sure, somethin’ you overheard or that somebody told
977                   you?
978
979   A:              Uh, not told me but, uh, let’s say, uh, let’s say they talked two days ago and
980                   later on they say, “Do you know this guy?” It’s like, “Well, I don’t know if he
981                   is or not. You know? A lot of question but he told me. He told me.”
982
983   Q:              So another employee would come and tell you that?
984




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 985   A:              Yeah, he’s tell me. He’d say, “Well, if he’s not, I’m not gonna.” It’s not my
 986                   job to go question if he is or not, you know. Uh, the person that needs to do it
 987                   is the one that pays the check. So, I’m not gonna question it.
 988
 989   Q:              Right well yeah. Uh, and when that was brought to your attention would you
 990                   take that to Bret at all?
 991
 992   A:              No I wouldn’t.
 993
 994   Q:              No? Okay.
 995
 996   A:              ‘Cause I’m afraid of my job being lost too.
 997
 998   Q:              Did he tell you that your job would be lost if you brought somethin’ like that
 999                   to him?
1000
1001   A:              No he never. Like I said, with him I didn’t get to talk that much but I was,
1002                   like, always trying to avoid that hassle. He wouldn’t ask me or I wouldn’t
1003                   have to tell him either.
1004
1005   Q:              Okay.
1006
1007   Q3:             Um, was there - did he specifically tell you not to make copies of their forms
1008                   and identifications?
1009
1010   A:             No, I just asked one of the other managers, “Do we make copies of this or
1011                  not?” “No. Just make sure that’s put it right year here and that’s it.” You
1012                  never, like I said, they - he never told me how to do it. I just asked the other
1013                  guys, “How you guys do one of these?” And they, “Okay, just make sure they
1014                  bring two forms of ID and that’s it.” “Okay, do we have to make copies?”
1015                  “No.”
1016
1017   Q2:             Okay Emigdio just one thing. You said you were a cook for seven months.
1018                   Where? At what store?
1019
1020   A:              At 83rd.
1021
1022   Q2:             83rd and?
1023
1024   A:              Union Hill.
1025
1026   Q2:             Okay and you worked there from when to when?
1027
1028   A:              July, no it was June.
1029


                                                                                      TRANSCRIPT-44
             Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 25 of 232
                                                                       INTERVIEW WITH EMIGDIO GONZALEZ
                                                                                Interviewer: Det. Josh Henderson
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                                                                                          Case # CR2014103633
                                                                                                         Page 24


1030   Q2:             June?
1031
1032   A:              Through December.
1033
1034   Q2:             June through December of?
1035
1036   A:              Uh, 2010. 2010.
1037
1038   Q2:             2010. And you became the manager?
1039
1040   A:              At, uh, the beginning of 2011 that’s when it started training in January.
1041
1042   Q2:             In January of 2011 until the present time?
1043
1044   A:              Uh-huh.
1045
1046   Q2:             Okay you were at which store? Still on 83rd and Union Hill?
1047
1048   A:              No, they trained me. They took me to 90th in January for a month and I have
1049                   to train.
1050
1051   Q2:             Okay wait wait. I’m sorry. 90, uh, 90th and what? Shea?
1052
1053   A:              Shea. I trained there for a month and a half.
1054
1055   Q2:             For one month and a half.
1056
1057   A:              Uh, then they took me to 32nd to finish my training.
1058
1059   Q2:             And then 32nd...
1060
1061   A:              I stayed there at 32nd...
1062
1063   Q2:             ...and Shea.
1064
1065   A:              ...until August.
1066
1067   Q2:             You stayed there from February?
1068
1069   A:              Uh-huh.
1070
1071   Q2:             To August?
1072
1073   A:              Uh-huh.
1074


                                                                                        TRANSCRIPT-45
             Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 26 of 232
                                                                   INTERVIEW WITH EMIGDIO GONZALEZ
                                                                            Interviewer: Det. Josh Henderson
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                                                                                                     Page 25


1075   Q2:             Of 2011?
1076
1077   A:              2012.
1078
1079   Q2:             2012?
1080
1081   A:              Yeah.
1082
1083   Q2:             Yep. Mm, no. I lost it. 83rd and Union Hill’s June to December of 2010.
1084
1085   A:              Uh-huh.
1086
1087   Q2:             Then 2011?
1088
1089   A:              Uh-huh that whole year.
1090
1091   Q2:             90th and Shea you said one month you were there.
1092
1093   A:              Month and a half yeah.
1094
1095   Q2:             Month and a half at 90th and Shea and then?
1096
1097   A:              I finished my training at the, uh, 32nd.
1098
1099   Q2:             And - and then you were there from 2011?
1100
1101   A:              Yep from there until 2012 August.
1102
1103   Q2:             Okay so you went to 32nd and Shea and there you at 32nd and Shea you were
1104                   right there as the store manager?
1105
1106   A:              Uh-huh. There was three of us.
1107
1108   Q2:             Store manager and then 90th and Shea you were only there for a month and a
1109                   half.
1110
1111   A:              Yeah.
1112
1113   Q2:             Who trained you?
1114
1115   A:              Uh, Lisa. ‘Cause I worked - I worked in the kitchen for seven months, but I
1116                   didn’t know all the kitchen. So they wanted me to train in the rest, you know,
1117                   how to open in the morning and how to close at night, you know. Cleaning
1118                   tosses and opening tosses.
1119


                                                                                    TRANSCRIPT-46
             Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 27 of 232
                                                                    INTERVIEW WITH EMIGDIO GONZALEZ
                                                                             Interviewer: Det. Josh Henderson
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                                                                                       Case # CR2014103633
                                                                                                      Page 26


1120   Q2:             And then 83rd and Union Hill?
1121
1122   A:              I was there from August until July when I got arrested.
1123
1124   Q2:             Then at 83rd and Union Hills you did as cook?
1125
1126   A:              At the beginning as I said and after that from August from last year until this
1127                   July I was manager.
1128
1129   Q2:             At 32nd?
1130
1131   A:              No at 83rd. I went back to 83rd.
1132
1133   Q2:             Okay.
1134
1135   A:              Make sense?
1136
1137   Q2:             I- I think everybody else got it.
1138
1139   A:              I want - let me see. Where doesn’t it make sense?
1140
1141   Q2:             No no it’s okay. It’s okay. Don’t worry about it.
1142
1143   ((Crosstalk))
1144
1145   Q5:             Um...
1146
1147   Q2:             Did...
1148
1149   Q5:             Did the people that worked in the kitchens have to have a food handler’s card?
1150
1151   A:              Yes.
1152
1153   Q5:             How did they get those if they weren’t legal?
1154
1155   A:              I don’t know.
1156
1157   Q5:             How did you get yours?
1158
1159   A:              I got mine? I have an ID. I go over there and I get my - my food handler’s
1160                   card. If you have a li- an ID, you can get your food handler’s card.
1161
1162   Q5:             Okay. Did, uh, did they require everyone to have those?
1163
1164   A:              Yes.


                                                                                     TRANSCRIPT-47
             Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 28 of 232
                                                                       INTERVIEW WITH EMIGDIO GONZALEZ
                                                                                Interviewer: Det. Josh Henderson
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                                                                                                         Page 27


1165
1166   Q5:             And did you guys make copies of those?
1167
1168   A:              He has a book at the store with all of those.
1169
1170   Q5:             The food handler’s cards.
1171
1172   Q3:             Emigdio, you said you, in - in going back to this thing where you were
1173                   surprised that the date was, uh, May 27, 2007, you do have, um, when you did
1174                   your taxes, have you used your EIN number?
1175
1176   A:              Yes.
1177
1178   Q3:             Okay and then that would reflect that you actually did start here in - in 2010
1179                   instead of 2007?
1180
1181   A:              Yes. Yeah, I started doing my taxes as soon as the begin the issue the AT
1182                   numbers. That was in 1996. I started and I was able to do my taxes ever since.
1183
1184   Q3:             Oh.
1185
1186   Q:              Do you remember the name of the manager that hired you?
1187
1188   A:              The name of the man? (Manuel).
1189
1190   Q:              (Manuel Rodriguez)?
1191
1192   A:              I don’t know his last name. I just know that they called him (Manny).
1193
1194   Q3:             And how soon when you were hired, um, did you meet Bret?
1195
1196   A:              Uh, I saw him coming in, you know, when I was in the kitchen. Saw him
1197                   come in and do the procedures, but, uh, he didn’t talk to me until, like, in
1198                   January when they - he started asking around that if, uh, they knew somebody
1199                   that, uh, was want- that wanted to step up and that had a little bit of a
1200                   knowledge in the kitchen. And, uh, this (Manny) and there was another, uh,
1201                   manager there told him about me. At the beginning, he wasn’t sure. He said I -
1202                   I looked too soft. Not enough firm to be with the, you know, to - that he
1203                   wanted somebody to make sure you things got done right. So I told him that,
1204                   uh, they made me do, like, uh, like, a resume.
1205
1206   Q3:             Mm-hm.
1207
1208   A:              You know and I told him where I was working before, what I was doing. And,
1209                   uh, he said, “Well, I’ll try - I’ll try training you. And then, uh, when can you


                                                                                        TRANSCRIPT-48
             Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 29 of 232
                                                                    INTERVIEW WITH EMIGDIO GONZALEZ
                                                                             Interviewer: Det. Josh Henderson
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                                                                                       Case # CR2014103633
                                                                                                      Page 28


1210                    start?”
1211
1212   Q4:              More questions? No? Detective?
1213
1214   Q:               No, I don’t have any further questions. Um, all right time is 2:52. Going off
1215                    tape.
1216
1217
1218   The transcript has been reviewed with the audio recording submitted and it is an accurate
1219   transcription.
1220   Signed________________________________________________________________________




                                                                                     TRANSCRIPT-49
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                          EXHIBIT 9
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                                                                      Page 1
       IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
            IN AND FOR THE COUNTY OF MARICOPA

 BRET FRIMMEL; PISHKA, INC.;          )
 and BRF ENTERPRISES, LLC;            )
 LISA AND WILLIAM BRUCE               )
 NORTON, wife and husband,            )
                                      )
           Plaintiffs,                )   No. 2-15-cv-00087-SPL
                                      )
                                      )
                vs.                   )
                                      )
                                      )
 JOSEPH M. AND AVA ARPAIO,            )
 et al.,                              )
                                      )
         Defendants.                  )
 ___________________________          )




              VIDEO DEPOSITION OF JAIMEE OLIVER

                         Phoenix, Arizona
                        September 22, 2016
                            9:34 a.m.




Prepared by:                               CARRIE REPORTING, LLC
MICHAELA H. DAVIS                          Certified Reporters
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(COPY)
     Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 32 of 232


                                                                       Page 27
1    in a document of some sort?

2        A.     It was an e-mail.

3        Q.     Is your understanding then that any e-mails that

4    you received from Josh Henderson or that you sent to Josh

5    Henderson would have been put into that folder that you

6    put onto the shared drive when you left the county

7    attorney's office?

8        A.     My understanding of the litigation hold was that

9    I wasn't -- that I was to preserve everything.              So yeah,

10   every e-mail that I sent or received regarding the case

11   went into a folder in Outlook.         And then when I left, I

12   transferred that folder onto the shared drive so it

13   wouldn't get destroyed.       My -- my hope would be somebody

14   in IT would have made sure that that didn't happen,

15   but ...

16       Q.     One would hope.

17       A.     Yeah.

18       Q.     Before you left the county attorney's office,

19   did you know whether Mr. Frimmel and Mrs. Norton had filed

20   a notice of claim with the county?

21       A.     No.    I think my knowledge of the notice of claim

22   came after I left.

23       Q.     Were you present at any of the Sheriff's Office

24   interviews of witnesses in this case?

25       A.     Only the free talk that was done prior to the
     Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 33 of 232


                                                                       Page 28
1    charging.

2           Q.   Do you recall how many free talks there were?

3           A.   Just one.    One that I attended.

4           Q.   Do you know who that was?

5           A.   It was the four employees, and their attorneys

6    were there.

7           Q.   Okay.   So one session, but four individuals were

8    interviewed?

9           A.   Yes.

10       Q.      Do you know whether those individuals were

11   interviewed before the free talks?

12       A.      I assume they were interviewed when they were

13   arrested for their own charges, so yes.            I mean, they were

14   interviewed regarding their own criminal cases that they

15   had.    I don't know if they were questioned about

16   Mrs. Norton and Mr. Frimmel's involvement prior to that

17   free talk.

18       Q.      What was the purpose of those free talk

19   interviews?

20       A.      The purpose of a free talk is to give an

21   individual an opportunity to provide law enforcement with

22   any information that they may have about other crimes

23   other than their own crime that they are being arrested

24   for.    Or sometimes even their own crime, but in this case

25   it was an opportunity for them to give the Sheriff's
     Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 34 of 232


                                                                       Page 29
1    Office any information that they may have about another

2    crime with the understanding that those statements can't

3    be used against them.

4        Q.     Do you know why there were free talks done of

5    just those four and not other people who were arrested at

6    Uncle Sam's?

7                    MS. IAFRATE:      Form.

8                    THE WITNESS:      My understanding is we

9    couldn't locate any of the other employ- -- there were,

10   like, 16 employees that were arrested at that original

11   warrant, but only four, maybe five were charged.              And at

12   that time we only had four.        And we -- I would have loved

13   to have talked to everybody that worked there, but the

14   current employees were protected, and the other people we

15   couldn't locate.     So it was just those four; that's all we

16   had.

17   BY MR. JACOB:

18       Q.     What do you mean "the current employees were

19   protected"?

20       A.     My understanding was that we -- that they

21   weren't able to be questioned and so -- because

22   Mr. Frimmel had counsel.

23       Q.     Why were you present at the free talk

24   interviews?

25       A.     I went to that free talk because I was new to
     Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 35 of 232


                                                                       Page 90
1        Q.     For Mrs. Norton, did the Sheriff's Office tell

2    you for each of the cooperating witnesses that she was

3    charged with knowing that they did not have a valid Social

4    Security Number; that she had a communication on

5    immigration status with each of those four cooperating

6    witnesses?

7        A.     For the ones that she was charged with, they

8    commun- -- the Sheriff's Office provided me with

9    information that she was aware of their immigration

10   status.   I can't say whether she had a conversation with

11   them about it, but she was aware.          She had knowledge that

12   they were not legally authorized to work in the United

13   States for the ones that she was charged with.              I know

14   that she wasn't charged with everything that Bret was

15   charged with.

16       Q.     And do you recall what that evidence was that

17   she knew -- for those that she was charged with, that she

18   knew about their immigration status?

19       A.     It was the culture of the restaurant.             Again, it

20   was the conversations that they had about the waitresses

21   going on vacation but the cooks couldn't go because they

22   don't have valid ID and they can't fly post 9/11.              You

23   know, you have to have a valid driver's license to fly.

24   And, you know, that "Watch out, the Sheriff's Office is

25   coming in to eat, and if you don't get busy, I'm going to
     Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 36 of 232


                                                                       Page 91
1    report you."    Those types of things that happened in the

2    restaurant, the culture, that indicates she had knowledge

3    that they weren't in the country legally.

4        Q.     For all the employees who didn't have valid

5    Social Security numbers?

6        A.     For the ones that she was charged with, yes.

7    There was enough evidence in what I was given to indicate

8    she knew -- she had knowledge for the ones that she was

9    charged with.      I wouldn't have charged her if I didn't

10   feel that there was probable cause to believe that she had

11   knowledge.

12       Q.     And your probable cause then, that you've opened

13   this up, your probable cause was that she had a general

14   knowledge that many of the employees didn't have valid

15   Social Security numbers?

16                   MR. EAVES:      Hold on.    I don't think she

17   opened it up.     I think you asked her what evidence she was

18   presented with, and she told you what evidence she was

19   presented with.     So I'm not going to sit here and say she

20   waived that.

21   BY MR. JACOB:

22       Q.     Let me ask you one more time so I understand

23   because I believe you're saying, "I wouldn't have done

24   if."

25              Okay.    Valentin Villanueva Fernandez.
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                          EXHIBIT 10
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           IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF ARIZONA


LISA NORTON, et al.,                   )
                                       )
      Plaintiffs,                      )
                                       )
vs.                                    ) No. CV
                                       ) 15-00087-PHX-SPL
JOSEPH M. ARPAIO, et al.,              )
                                       )
      Defendants.                      )
                                       )




      VIDEOTAPED DEPOSITION OF BRET RICHARD FRIMMEL



                       Phoenix, Arizona
                     September 29, 2016




Reported by:    Cathy A. Miccolis, RPR/CRR
Certified Reporter, No. 50068
      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 40 of 232
Norton v. Arpaio                                          Bret Richard Frimmel

                                                                        Page 97
  1           Q.     Did they fill out new paperwork?
  2           A.     Yes.
  3           Q.     Did you do anything in order to determine if
  4   they were lawfully working in the United States?
  5           A.     They were E-Verified.
  6           Q.     When did you start E-Verifying?
  7           A.     Personally?     The day after the government shut
  8   down, whenever that was.
  9           Q.     When you say day after government shutdown, are
 10   you talking about MCSO?
 11           A.     No.
 12           Q.     Okay.   So what are you talking about?
 13           A.     I mean the federal government was shut down for
 14   a period of time and couldn't use any system.
 15           Q.     Okay.   Okay.   I had my terminology mixed up.
 16   Okay.   So there was a point where you started using
 17   E-Verify; right?
 18           A.     No.    I -- I always thought it was being done.
 19           Q.     But it wasn't; right?
 20           A.     It wasn't being done the way I was paying for
 21   it to be done.
 22           Q.     Was E-Verify being done at Uncle Sam's for your
 23   employees prior to what you call the government shutdown?
 24           A.     It was supposed to be being done.
 25           Q.     But it wasn't being done, was it?



                   BAMFORD REPORTING SERVICE 602-265-5974
      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 41 of 232
Norton v. Arpaio                                          Bret Richard Frimmel

                                                                        Page 98
  1          A.     We came to find out later it was not being done
  2   appropriately.
  3          Q.     Was it being done at all?
  4          A.     I don't know to be honest with you what the
  5   final fact of that is.       We had never finished looking at
  6   it.
  7          Q.     What do you mean "we never finished looking at
  8   it"?
  9          A.     There was nowhere to go with it.          My
 10   understanding was there was no recourse.
 11          Q.     Did you ever receive any verbal or written
 12   communication that your employees were being E-Verified?
 13          A.     Yes.
 14          Q.     From whom?
 15          A.     ADP.
 16          Q.     Who told you?
 17          A.     A representative from ADP.
 18          Q.     What's his name?
 19          A.     I don't remember her name.        It was a her.         I do
 20   remember that, but I don't remember her name.
 21          Q.     When did this person tell you that?
 22          A.     It was the beginning of '08.
 23          Q.     You remember that?
 24          A.     Yes.
 25          Q.     Do you remember reading that contract that we



                  BAMFORD REPORTING SERVICE 602-265-5974
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Norton v. Arpaio                                          Bret Richard Frimmel

                                                                       Page 101
  1         A.     Yes.
  2         Q.     Was there any contract or document that you
  3   filled out with ADP following when E-Verify was
  4   implemented?
  5         A.     No.
  6         Q.     Let me go back.
  7                We talked about either nine or 10 employees,
  8   and the understanding that I have is that nine were the
  9   result of the investigation that was ongoing regarding
 10   Uncle Sam's and one arrest was related to an outstanding
 11   search warrant.      Some of those people never came back to
 12   Uncle Sam's; correct?
 13         A.     Correct.
 14         Q.     In fact, if there were 10, you say you recall
 15   two coming back; correct?
 16         A.     I believe the one with the warrant tried to
 17   come back and I just didn't -- wasn't having it.
 18         Q.     Okay.   Fair enough.      So as you sit here today
 19   you do recall reemploying two of the individuals that were
 20   arrested?
 21         A.     Yes.
 22         Q.     Following the execution of the search warrants
 23   by Maricopa County Sheriff's Office, did you or anyone on
 24   your behalf do anything to determine if the remainder of
 25   the individuals that you employed were here illegally?



                 BAMFORD REPORTING SERVICE 602-265-5974
      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 43 of 232
Norton v. Arpaio                                          Bret Richard Frimmel

                                                                       Page 177
  1   STATE OF ARIZONA             )
                                   )   ss.
  2   COUNTY OF MARICOPA           )
  3                BE IT KNOWN that the foregoing deposition was
  4   taken before me, Cathy A. Miccolis, RPR, a Certified
  5   Reporter, Certificate #50068, for the State of Arizona,
  6   and by virtue thereof authorized to administer an oath;
  7   that the witness before testifying was duly sworn by me to
  8   testify to the whole truth; that the questions propounded
  9   to the witness and the answers of the witness thereto were
 10   taken down by me in shorthand and thereafter reduced to
 11   print by computer-aided transcription under my direction;
 12   that pursuant to request, notification was provided that
 13   the deposition is available for review and signature; that
 14   the transcript consisting of 177 pages is a full, true and
 15   accurate transcript of all proceedings and testimony had
 16   and adduced upon the taking of said deposition, and
 17   preparation, production and distribution of the transcript
 18   and copies comply with law and code as required by ACJA
 19   7-206(F)(3), all done to the best of my skill and ability.
 20            I FURTHER CERTIFY that I am in no way related to
 21   nor employed by any of the parties hereto nor am I in any
 22   way interested in the outcome hereof.
 23   DATED at Phoenix, Arizona, October 5, 2016.
 24   ____________________________            ________________________
      Bamford Reporting Service, Inc.         Cathy A. Miccolis, RPR/CRR
 25                                           Certified Reporter #50068



                BAMFORD REPORTING SERVICE 602-265-5974
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                          EXHIBIT 11
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                                                                  1




      1          IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

      2                  IN AND FOR THE COUNTY OF MARICOPA

      3

      4   STATE OF ARIZONA,            )
                                       )
      5                 Plaintiff,     )
                                       )
      6            vs.                 )      No. CR 2014-103633-001
                                       )
      7   BRET RICHARD FRIMMEL,        )
                                       )
      8                 Defendant.     )
          _____________________________)
      9

     10              REPORTER'S TRANSCRIPT OF PROCEEDINGS
                                FRANKS HEARING
     11

     12           BEFORE:     THE HONORABLE SAM J. MYERS, Judge

     13

     14   APPEARANCES:          Michael A. Anderson
                                Michael Gingold
     15                         Deputy County Attorneys
                                Represented the State
     16
                                Paul K. Charlton
     17                         Quintin H. Cushner
                                Lawfirm of Steptoe and Johnson
     18                         Leon B. Silver
                                Lawfirm of Gordon and Rees
     19                         Represented the Defendant

     20

     21                                             March 6, 2015
                                                    9:17 a.m.
     22   COPY                                      Phoenix, Arizona

     23

     24   LAURIE R. YAZWA
          Official Court Reporter
     25   Certified Reporter #50184
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      1               THE COURT:     Sir, if you'll please take a walk

      2   around the court reporter, up the steps, and have a seat

      3   here on the witness stand.

      4               Counsel, whenever you're ready.

      5               MR. CHARLTON:     Thank you.

      6

      7                      SERGEANT JOSHUA HENDERSON,

      8   called as a witness, testified on his oath as follows:

      9

     10                          DIRECT EXAMINATION

     11   BY MR. CHARLTON:

     12           Q   Your name for the record, please?

     13           A   Joshua Henderson.

     14           Q   What is it you do for a living, Mr. Henderson?

     15           A   I'm a sergeant with the Maricopa County

     16   Sheriff's Office.

     17           Q   How long have you been so employed?

     18           A   For approximately 14 years.

     19           Q   How long have you been a detective?

     20           A   From October 2012 to December of 2014.

     21           Q   What was your first position as a detective

     22   within the Maricopa County Sheriff's Office?

     23           A   It was with the Criminal Employment Unit.

     24           Q   You were assigned as a detective to that unit?

     25           A   Yes, I was.
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      1   Detective.

      2           A    Okay.

      3           Q    Is it your testimony here today that sandwiches

      4   were sold at the Cochise Road address?

      5           A    No, that's not what I'm saying.

      6           Q    Were sandwiches sold at the Cochise address?

      7           A    I don't know that.

      8                MR. CHARLTON:     00849, please.   First paragraph

      9   highlighted, please.

     10           Q     BY MR. CHARLTON:     Take a look at 00849,

     11   please, Detective, on Exhibit 2A.      You see that first

     12   paragraph, "On January 24, 2013 your Affiant conducted an

     13   interview with a complainant who wishes to remain a

     14   confidential source"?      You see that?

     15           A    Yes, I see that.

     16           Q    "In reference to Uncle Sam's, the complainant

     17   stated they wanted to remain a confidential source due to

     18   fear of retaliation."      You see that, sir?

     19           A    Yes, I see that.

     20           Q    And you see "The complainant told your Affiant

     21   that they had been employed prior to resigning work at the

     22   restaurant located at 18913 N. 83rd Ave."       You see that?

     23           A    I see that.

     24           Q    That individual, that confidential source, is

     25   in fact Denee Porter Ishak; is that correct?
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      1              A   At the time that this affidavit was authored, I

      2   did not know that information.

      3                  MR. CHARLTON:     Your Honor, the answer calls for

      4   a yes or no.     I'd ask the witness to be instructed when I

      5   ask a yes or no question to answer yes or no, or if he

      6   can't to simply say, "I can't answer."

      7                  THE COURT:     Mr. Henderson, his questions are

      8   going to be very specific.        So make sure you're listening

      9   to what he's asking and make sure you're answering what

     10   he's asking.

     11                  THE WITNESS:     Yes, Your Honor.

     12              Q   BY MR. CHARLTON:     Detective, the confidential

     13   source here listed is in fact Denee Porter Ishak; is that

     14   not correct?

     15                  MR. ANDERSON:     Objection, Your Honor,

     16   foundation as to what time frame we're talking about.

     17                  THE COURT:     Overruled.   The witness may answer

     18   if he's able.

     19                  THE WITNESS:     That in fact is Denee Porter.

     20              Q   BY MR. CHARLTON:     And you tell the Court that

     21   Denee Porter Ishak resigned from work, correct?

     22              A   Yes, I put -- yes, I told that.

     23              Q   And when you make these statements in an

     24   affidavit, Detective, you're swearing to these statements,

     25   correct?
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      1              A   That's correct.

      2              Q   Your right hand was raised when you took the

      3   oath, correct?

      4              A   That's correct.

      5              Q   Just as you did here today, correct?

      6              A   That's correct.

      7              Q   In fact, what you don't include inside that

      8   affidavit is that Ms. Porter Ishak had left the employment

      9   of Uncle Sam's on January 7th of 2011, correct?

     10              A   I don't see that in the affidavit.     Can you

     11   show me where you're talking about?

     12              Q   That's precisely my question, sir.     Nowhere in

     13   this affidavit does it say that the confidential source

     14   here, Miss Denee Porter Ishak, left the employ of Uncle

     15   Sam's in January of 2011, does it?      Nowhere.

     16              A   No, it's not in there.

     17              Q   Correct.   But you do say she resigned, correct?

     18              A   Correct.

     19              Q   So you knew the confidential source had

     20   resigned, correct?

     21              A   Correct.

     22              Q   And in fact you knew she'd resigned in 2011,

     23   correct?

     24              A   I would say I don't recall knowing that

     25   information.     I don't -- can I refer to my supplement
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      1                  THE COURT:     Mr. Anderson, if you need to

      2   approach and look at the exhibit, you're free to do that.

      3                  MR. ANDERSON:     The State will stipulate, Your

      4   Honor.

      5                  THE COURT:     Exhibit 26 is admitted.

      6              Q   BY MR. CHARLTON:     You see 03604, Detective?

      7              A   Yes, I do.

      8              Q   You see the initial contact date, August 2nd,

      9   '12?     You see that?

     10              A   Yes, I do.

     11              Q   You see above that where it says complainant,

     12   it has two names, correct?

     13              A   Yes.     It has one crossed out and another one

     14   above it.

     15              Q   Right.     The one above it is Said, correct?

     16              A   Correct.

     17              Q   The one below it is Denee, correct?

     18              A   Correct.

     19              Q   They are in a relationship, correct?

     20              A   Are you asking about their status now or

     21   when -- can you kind of specify what time you're talking

     22   about?

     23              Q   During the January 24th, 2013 phone call that

     24   you had with Miss Porter Ishak, she was in a relationship

     25   with Said Ishak, correct?
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      1           A   That's incorrect.   I didn't know that at that

      2   time.

      3           Q   Well, I'm not asking what you knew.   I'm asking

      4   if she was or not.

      5           A   I learned that -- I learned that they were in a

      6   relationship in February of 2014.

      7           Q   So, on the February 20th, 2013 phone call, is

      8   it your testimony that you did not know that she was in a

      9   relationship with Said Ishak?

     10           A   That's correct.

     11           Q   These two names appear together, correct, Said

     12   and Denee, on the tip sheet, correct?

     13           A   That's correct.

     14           Q   And the date she makes the call is August 2nd

     15   of 2012, correct?

     16           A   That's correct.

     17           Q   What is the significance of August 12, 2012?

     18           A   That's the day she called and made a complaint.

     19           Q   It's also the date, is it not, Detective, that

     20   Said Ishak was arrested?   Is that not correct?

     21           A   To the best of my recollection, I believe

     22   that's correct.

     23           Q   And he was arrested, is it not correct,

     24   Detective, for stealing, stealing from Mr. Frimmel?     Is

     25   that not correct?
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      1              A   That -- to the best of my recollection, that's

      2   correct.

      3              Q   And he eventually pled guilty for stealing from

      4   Mr. Frimmel; is that not correct?

      5              A   I don't know what the plea -- I can't -- I

      6   don't recall what the plea arrangements were with that.

      7              Q   So the date that Denee Porter Ishak makes a

      8   phone call to the Sheriff's Office with a tip about alleged

      9   wrongdoing by my client is the date her husband is arrested

     10   for stealing from my client, correct?

     11              A   But at the time I did not know that

     12   information.

     13              Q   I'm not asking you that question.

     14              A   Okay.   Okay.

     15              Q   Is that correct?

     16              A   Yes, that's correct, that I learned that on --

     17              Q   No, that's not the question.

     18              A   -- 2014.   Okay.

     19              Q   Is it not correct -- I'll ask the question

     20   again, Detective.      Is it not correct that Denee Porter

     21   Ishak calls in a tip to the Sheriff's Office complaining

     22   about wrongdoing by my client on the date that her husband

     23   is arrested for stealing from my client?      Is that not

     24   correct, sir?

     25              A   That's correct.
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      1           Q    Show me anywhere in Exhibit 2 where that

      2   information is given to the magistrate.

      3           A    Well, it's not in there because I didn't have

      4   that information.

      5           Q    I didn't ask you why it's not in there.     I

      6   asked you is it in there.

      7           A    Okay, it's not in there.

      8           Q    Let's go to the February 20th interview that

      9   you do with Denee Porter Ishak.

     10                MR. CHARLTON:   Exhibit 23, please.

     11                May I approach, Your Honor?

     12                THE COURT:   You may.

     13                MR. CHARLTON:   Exhibit 23 before the witness

     14   now.

     15           Q    BY MR. CHARLTON:     You recognize Exhibit 23,

     16   Detective?

     17           A    Yes, I do.

     18           Q    What is Number 23?

     19           A    It's a supplement report reference a contact by

     20   telephone with Denee Porter Ishak on February 18th, 2014.

     21                MR. CHARLTON:   Move the admission of Exhibit

     22   Number 23, Your Honor.

     23                THE COURT:   Is there any objection?

     24                MR. ANDERSON:   No, Your Honor.

     25                THE COURT:   Exhibit 23 is admitted.
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      1   top part there.

      2              Q     BY MR. CHARLTON:   In fact, you contact him on

      3   the very same day, correct?

      4              A     The best of my recollection, that was a

      5   mistype.       That was a mistake on my part.    It should have

      6   been the next day, the 21st, not the 20th.

      7              Q     Is that a mistake on your part because

      8   Detective Whelan told you it was a mistake, or is that a

      9   mistake on your part because you really think it's a

     10   mistake?

     11              A     No, that's a mistake because I really think

     12   it's a mistake.

     13              Q     Because if it took place on the 20th, what

     14   actually happened, Detective, is that Denee Porter Ishak

     15   took the phone from her and gave it to her husband on the

     16   20th.   Isn't that what happened?

     17              A     No, that's not what happened.

     18              Q     But what you're saying is when it says on the

     19   20th, that's not accurate; you actually called 24 hours

     20   later, correct?

     21              A     No, I just -- I put the wrong date, because if

     22   you look previous to what you stated, on the page before

     23   it's the same date and time.        I just didn't update that

     24   date and time.

     25              Q     Because the story's a better one this way,
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      1   correct?

      2              A   No.     That's the truth.

      3              Q   Your memory is better as it relates to this

      4   fact, correct?

      5              A   I just remember talking to him the next day.

      6              Q   Correct.     That's a pretty good memory, right?

      7                  You knew by February 20th of 2013 that these

      8   two were living together, correct?

      9              A   That's incorrect.

     10              Q   You knew that they were married, correct?

     11              A   That's incorrect.

     12              Q   And you knew that she hadn't been working there

     13   since 2011, correct?

     14              A   I can't -- I can't answer that without me

     15   looking through my supplements.

     16              Q   You have a supplement there right in front of

     17   you.   You have a supplement there that says whether or not

     18   she had been working there in 2011.

     19              A   May I take a moment to read through this?

     20              Q   Please.

     21              A   Okay.     To answer your question if I knew that

     22   she resigned or quit working in 2011, the answer was no, I

     23   did not know that information.

     24              Q   You never asked her that information?

     25              A   I don't recall the specific conversations that
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      1   next witness.

      2                    MR. CUSHNER:     We call Detective Hechavarria.

      3                    THE COURT:     Sir, if you'll please come forward

      4   and approach the clerk that's standing to my left.

      5                     (The clerk administered the oath to the

      6   witness.)

      7                    THE COURT:     Sir, please take a walk around the

      8   court reporter, up the steps.          Have a seat here on the

      9   witness stand.

     10                    Counsel, whenever you're ready.

     11

     12                       DETECTIVE CHRIS HECHAVARRIA,

     13   called as a witness, testified on his oath as follows:

     14

     15                            DIRECT EXAMINATION

     16   BY MR. CUSHNER:

     17             Q      Detective Hechavarria, good afternoon.

     18             A      Good afternoon.

     19             Q      Detective Hechavarria, you're a deputy sheriff

     20   with the Maricopa County Sheriff's Office, correct?

     21             A      Yes.

     22             Q      And if I could ask your indulgence, if you

     23   could dig through that pile of exhibits, there should be an

     24   exhibit labeled Number 4.          If you could retrieve that,

     25   please.       Let me know once you've retrieved it.
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      1              A   No problem.

      2                  THE COURT:     Mr. Cushner, if you want to assist,

      3   it might make things go a little more quickly.

      4                  MR. CUSHNER:     Sure.

      5                  There we go.

      6                  THE WITNESS:     Thank you.

      7              Q   BY MR. CUSHNER:     Detective Hechavarria, do you

      8   see the numbers in the bottom right-hand corner of the

      9   exhibits?

     10              A   I do.

     11              Q   I'm going to be referring to those.

     12              A   Okay.

     13              Q   Detective Hechavarria, you prepared the search

     14   warrant affidavit that's at Exhibit 4 pages 2364 to 2368,

     15   correct?

     16              A   Yes, I did.

     17              Q   And you signed the search warrant at Exhibit 4

     18   page 2368, correct?

     19              A   Yes, I did.

     20              Q   And you signed this affidavit under oath,

     21   correct?

     22              A   That is correct.

     23              Q   And you intended the commissioner who signed

     24   the search warrant to rely upon your signed affidavit made

     25   under oath, correct?
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      1              A   That's correct.

      2              Q   If you could go to page 2367.   You advised the

      3   Court on page 2367 that the facts in your probable cause

      4   statement were provided by Detective Henderson; is that

      5   correct?

      6              A   Correct.

      7              Q   And Detective Henderson provided you these

      8   facts in what you called an affidavit, correct?

      9              A   Correct.

     10              Q   And you intended the commissioner to rely on

     11   the affidavit that Detective Henderson provided and that

     12   was included in your search warrant affidavit, correct?

     13              A   Correct.

     14              Q   And you did not retain the affidavit that

     15   Detective Henderson provided, correct?

     16              A   I did not.

     17                  MR. CUSHNER:   If you could zoom out and go to

     18   the bottom of that page.

     19                  Go to page 2367, and, if you could highlight

     20   it.   There you go.

     21              Q   BY MR. CUSHNER:   The bottom of page 2367, and

     22   this paragraph bleeds into 2368, states, "It is also my

     23   experience that people who deal in quantities of illegal

     24   drugs have to communicate to successfully control, operate,

     25   and facilitate an illegal drug trafficking organization.
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      1   Telephones, pagers, and cellular telephones are some of the

      2   common forms of electronic communication used by drug

      3   trafficking organizations.        They communicate by voice,

      4   text, video, instant messaging, push-to-talk walkie-talkie

      5   style communication and photographs to avoid police

      6   detection."

      7                  Do you see that, Detective Hechavarria?

      8              A   I do.

      9              Q   There's no evidence, Detective Hechavarria, in

     10   the four corners of this affidavit regarding illegal drugs,

     11   correct?

     12              A   That's correct.

     13              Q   And there's no information in this case

     14   involving illegal drugs, correct?

     15              A   Correct.

     16                  MR. CUSHNER:     Nothing further.   Thank you.

     17                  THE COURT:     Thank you.

     18                  Cross-examination?

     19

     20                             CROSS-EXAMINATION

     21   BY MR. ANDERSON:

     22              Q   In the body of your affidavit it refers to an

     23   affidavit that was provided to you by Detective Henderson?

     24              A   Yes.

     25              Q   No sworn statement was ever given to you by the
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      5               I, LAURIE R. YAZWA, hereby certify that the

      6   foregoing 237 pages are a true and accurate transcription

      7   of the proceedings, prepared to the best of my ability.

      8

      9                                     __________/s/__________

     10                                     LAURIE R. YAZWA

     11                                     Official Court Reporter

     12                                     Certified Reporter #50184

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                          EXHIBIT 16
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                                                                  Page 1
                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ARIZONA



       BRET FRIMMEL; PISHKA, INC.;         )
       and BRF ENTERPRISES, LLC;           )
       LISA AND WILLIAM BRUCE              )
       NORTON, wife and husband,           )
                                           )
                 Plaintiffs,               ) No. 2-15-cv-00087-SPL
                                           )
                                           )
                      vs.                  )
                                           )
                                           )
       JOSEPH M. AND AVA ARPAIO,           )
       et al.,                             )
                                           )
                                           )
               Defendants.                 )
       ___________________________         )




              VIDEO DEPOSITION OF DMITRIUS WHELAN-GONZALES

                              Phoenix, Arizona
                               July 26, 2016
                                 9:34 a.m.




     Prepared by:                              CARRIE REPORTING, LLC
     MICHAELA H. DAVIS                         Certified Reporters
     Registered Professional Reporter          2415 E. Camelback Road
     Certified Realtime Reporter               Suite 700
     Certified LiveNote Reporter               Phoenix, AZ 85016
     AZ CR No. #50574                          (480) 429-7573
     carrie@carriereporting.com

     (COPY)
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                                                                Page 51
 1       Q.     Did the Sheriff ask to see any of the
 2   transcripts of testimony that you obtained?
 3       A.     No.
 4       Q.     Did you hear anybody relate the substance of any
 5   testimony to the Sheriff?
 6       A.     Some of the high points might have been
 7   discussed.
 8       Q.     Can you recall any of those high points?
 9       A.     The fact that we had discussed the case file,
10   and the county attorney was intimately involved with the
11   case and that we had met with the county attorney, gone
12   over the charges they had, roundtabled it as well, and
13   came back with the determination of how we should proceed,
14   whether it's by grand jury indictment or by probable cause
15   arrest, but they decided that the charges were solid, so
16   they didn't care either way.
17              Some of the statements that we had gathered from
18   the witnesses about the racist comments, kind of
19   bigot -- some of the inflammatory comments that Frimmel
20   had made towards his staff were discussed.          I think we
21   also spoke about that there was a parallel -- or an
22   investigation also going on on the civil side where
23   Mr. Frimmel was maybe facing approximately a
24   half-million-dollar civil fine for I-9s being improperly
25   filled out.    And then the explanation that the I-9s
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 164 of 232

                                                                Page 52
 1   wouldn't be able to be used in our case based off case law
 2   but that he would likely have issues with the federal
 3   government, ICE, reference his I-9s financially on that
 4   case.
 5       Q.      Was there discussion with the Sheriff about
 6   arresting Mrs. Norton prior to that arrest?
 7       A.      Yes.
 8       Q.      What was discussed in that context?
 9       A.      That during our meeting with the county
10   attorney, we had discussed charges on both Frimmel and
11   Norton and had a list of charges that we intended to
12   arrest and charge them with.
13       Q.      In the course of working up the investigation
14   prior to the arrest of Mr. Frimmel and Mrs. Norton, did --
15   are you aware if any of the deputies in your office,
16   including yourself, sent e-mails to each other discussing
17   the case?
18                   MS. IAFRATE:     Form.
19                   THE WITNESS:     Nothing comes to mind about
20   e-mail correspondence between us of any importance.
21   BY MR. JACOB:
22       Q.      Are you aware of e-mails discussing the
23   substance of the case going between the CEU deputies
24   including yourself and people at the county attorney's
25   office?
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 165 of 232

                                                               Page 127
 1       A.      Not in Western Union.
 2       Q.      Do you know whether Mr. Frimmel was put into
 3   handcuffs when he was arrested?
 4       A.      Yes.
 5       Q.      Do you know why?
 6       A.      Yes.
 7       Q.      Why?
 8       A.      Per our policy, we handcuff people, restrain
 9   them, and place them in the cars for transport.           So it's
10   nothing special that he was handcuffed.
11       Q.      Do you handcuff everybody that you arrest for
12   any reason?
13                   MS. IAFRATE:     Form.
14                   THE WITNESS:     What's your definition of
15   "arrest"?
16   BY MR. JACOB:
17       Q.      What's your definition?
18       A.      Maybe I'll give you a hypothetical.        If I pull
19   you over for suspended license, that's a criminal charge,
20   and I'm going to issue a citation which is a criminal
21   citation.    Technically, I've arrested you.        You might not
22   know that because I haven't put handcuffs on you and told
23   you you can't leave, but that's a criminal charge.           You've
24   been arrested.
25               If I find a bank robber, we can all assume that
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 166 of 232

                                                               Page 128
 1   that guy is going to be arrested and transported and
 2   charged.
 3              So if your question is, does everyone who gets
 4   arrested get handcuffed, my answer would be no.           If your
 5   question is, everyone who gets arrested for whatever the
 6   charge is and transported, would they be restrained, my
 7   answer is yes.
 8       Q.     With handcuffs?
 9       A.     Or possibly leg shackles as well.         Or belly
10   belt.
11       Q.     Is that something that other police forces do?
12       A.     I think you'd have to ask them.
13       Q.     This is Exhibit 15.      We've had that before.
14              Have you ever seen this letter before?
15       A.     Yes.
16       Q.     Can you explain to me what it is?
17       A.     I believe this is a letter that was requested
18   for John Penner, the attorney, to generate to us to try to
19   figure out where the listed information -- I'm sorry, the
20   listed items, the cash, and the watch, where they were
21   located.
22       Q.     Did you see this letter around the time it was
23   received by Detective -- then-Detective Henderson?
24                   MS. IAFRATE:     Form.
25                   THE WITNESS:     It's been a while ago.      But
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 167 of 232

                                                               Page 135
 1   STATE OF ARIZONA   )
                        ) ss.
 2   COUNTY OF MARICOPA )
 3


 4            BE IT KNOWN that the foregoing proceedings were
     taken by me, MICHAELA HERMAN DAVIS, a Certified Reporter,
 5   in and for the County of Maricopa, State of Arizona; that
     the witness before testifying was duly sworn to testify to
 6   the whole truth; that the questions propounded to the
     witness and the answers of the witness thereto were taken
 7   down by me in shorthand and thereafter reduced to
     typewriting under my direction; that the witness will read
 8   and sign said deposition; that the foregoing pages are a
     true and correct transcript of all proceedings had, all
 9   done to the best of my skill and ability.
              I FURTHER CERTIFY that I am in no way related to
10   any of the parties hereto, nor am I in any way interested
     in the outcome hereof.
11            I FURTHER CERTIFY that I have complied with the
     ethical obligations set forth in ACJA 7-206(J)(1)(g)(1)
12   and (2).
13

     Michaela Herman Davis                                50574
14   _________________________________                 _______________
     Certified Reporter                                   CR Number
15


16   _________________________________                 _______________
     Certified Reporter                                   Date
17   (Signature)
18

              I CERTIFY that this Registered Reporting Firm has
19   complied with the ethical obligations set forth in
     ACJA 7-206(J)(1)(g)(1) and (2).
20


21   Carrie Reporting, LLC                                R1064
     _________________________________                 _______________
22   Registered Reporting Firm                            RRF Number
23

     _________________________________                 _______________
24   Registered Reporting Firm                            Date
     (Signature)
25
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                           EXHIBIT A
Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000061
Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000062
Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000063
Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000065
Exhibit
  Case   "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000066
Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000067
Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000068
Exhibit
  Case    "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000069
Exhibit
  Case   "D"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000070
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                          EXHIBIT 18
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                           EXHIBIT A
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000071
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000072
Exhibit
  Case   "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000073
Exhibit
  Case   "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000074
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000075
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000076
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000077
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000078
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000079
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
                                    25-2   Filed 06/19/15
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                                                                  GR000080
Exhibit
  Case   "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000081
Exhibit
  Case    "E"
   Case2:15-cv-00087-SPL
        2:15-cv-00087-SPL Document
                           Document213-4
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                                                                  GR000082
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                          EXHIBIT 19
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 199 of 232

                                                                  Page 1
                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ARIZONA




       BRET FRIMMEL; PISHKA, INC.;        )
       and BRF ENTERPRISES, LLC;          )
       LISA AND WILLIAM BRUCE             )
       NORTON, wife and husband,          )
                                          )
                 Plaintiffs,              )
                                          )
                      vs.                 )   No. 2-15-cv-00087-SPL
                                          )
       JOSEPH M. AND AVA ARPAIO,          )
       et al.,                            )
                                          )
               Defendants.                )
       ___________________________        )



                VIDEO DEPOSITION OF CHRISTOPHER HEGSTROM

                              Phoenix, Arizona
                               June 29, 2016
                                 9:29 a.m.




     Prepared by:                              CARRIE REPORTING, LLC
     MICHAELA H. DAVIS                         Certified Reporters
     Registered Professional Reporter          4032 North Miller Road
     Certified Realtime Reporter               Suite A-100
     Certified LiveNote Reporter               Scottsdale, AZ 85251
     AZ CR No. #50574                          (480) 429-7573


     (COPY)
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 200 of 232

                                                                Page 43
 1       A.     A print-off of an article from the Independent
 2   Newsmedia written by Cecilia Chung -- Chan.
 3       Q.     Have you ever spoken to Ms. Chan?
 4       A.     Yes.
 5       Q.     Have you sent e-mails to Ms. Chan?
 6       A.     Yes.
 7       Q.     Having looked at this document, does it refresh
 8   your memory whether you communicated with Ms. Chan about
 9   the arrest of Mr. Frimmel?
10       A.     No.
11       Q.     Do you believe that Ms. Chan is incorrect when
12   she says that -- when she quotes you saying "Mr. Hegstrom
13   said"?
14                    MS. IAFRATE:    Form.   There aren't quotation
15   marks, so when you say "quote," you use that --
16                    MR. JACOB:   Can you read back my question,
17   please?
18                    (The following requested portion of the
19   record was read back by the reporter:
20                    "QUESTION:   Do you believe that Ms. Chan is
21   incorrect when she says that -- when she quotes you saying
22   "Mr. Hegstrom said"?")
23                    MS. IAFRATE:    Form.
24   BY MR. JACOB:
25       Q.     Do you believe that she's incorrect in using the
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 201 of 232

                                                                Page 44
 1   phrase "Mr. Hegstrom said" in this article?
 2       A.     I don't recall.
 3       Q.     My question is, do you believe she's incorrect?
 4       A.     I don't know.
 5       Q.     Did you take any part in drafting the press
 6   release concerning the arrest of Mr. Frimmel and
 7   Mrs. Norton?
 8       A.     I don't know.
 9       Q.     If somebody were to testify that you did take a
10   part in that, you wouldn't know that that was untrue; is
11   that correct?
12                   MS. IAFRATE:     Form.
13                   THE WITNESS:     I don't recall.
14   BY MR. JACOB:
15       Q.     Did you participate in any meeting on a -- one
16   or two days prior to execution of the search warrants on
17   Uncle Sam's restaurant where the execution of such search
18   warrants was discussed?
19       A.     I don't remember.
20       Q.     In another matter, Lieutenant Jakowinicz gave
21   sworn testimony that he would brief Sheriff Arpaio and
22   Chief Sands, and I'm quoting him now, when a CEU
23   investigation was concluding with search warrants.           Do you
24   believe that Lieutenant Jakowinicz was correct when he
25   gave that testimony?
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 202 of 232
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                          EXHIBIT 20
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                          EXHIBIT 21
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 206 of 232



             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF ARIZONA
   Bret Frimmel; Pishka, Inc.; and ) Case No.
   BRF Enterprises, LLC; Lisa and   ) 2-15-cv-00087-SPL
   William Bruce Norton, wife and   )
   husband;                         )
                                    )
            Plaintiffs,             )
                                    )
        vs.                         )
                                    )
   Joseph M. and Ava Arpaio, et al.,)
                                    )
            Defendants.             )
                                    )




             VIDEOTAPED DEPOSITION OF CESAR BROCKMAN

                            Phoenix, Arizona
                             August 2, 2016
                               9:34 a.m.




   PREPARED FOR:
   THE COURT                                    CARRIE REPORTING, LLC
                                                Certified Reporters
   Reported by:                                 2415 E. Camelback Road
   CAROLYN T. SULLIVAN                          Suite 700
   Registered Professional Reporter             Phoenix, AZ 85016
   Arizona CR No. 50528                         (480) 429-7573
      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 207 of 232
                                                                                   17
DEPOSITION OF Cesar Brockman, 8/16/2016


  1                       MR. JACOB:      No, he hasn't.
  2                       MS. IAFRATE:      Yeah, he has.
  3                       MS. BURGESS:      He has.    Twice.
  4           Q.      BY MR. JACOB:       Just answer me yes or no.          Was
  5      it more than ten?
  6                       MS. IAFRATE:      Form.
  7                       THE WITNESS:      I don't know.
  8           Q.      BY MR. JACOB:       Okay.   How many employers in
  9      that first year did you arrest for violating the Act?
 10           A.      I don't think we arrested any that first year.
 11           Q.      So now we're in the second year, 2009.             Can you
 12      approximate how many employers you investigated in 2009?
 13           A.      No.
 14           Q.      How many employers did you arrest in 2009?
 15           A.      I don't remember.       I don't know if we did or
 16      not.
 17           Q.      So you don't know whether you arrested any
 18      employers in 2009?
 19           A.      2009.    It's been seven years ago.          I don't
 20      remember.
 21           Q.      All right.     From -- from 2008 till you left
 22      the H -- till you left the CEU, which I believe was in
 23      August of 2014, how many --
 24                       MS. IAFRATE:      Huh-uh.
 25           Q.      BY MR. JACOB:       When did you leave the CEU?




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      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 208 of 232
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DEPOSITION OF Cesar Brockman, 8/16/2016


  1                       MR. JACOB:      This is Exhibit 2.
  2                       MS. IAFRATE:      Thank you.
  3           Q.      BY MR. JACOB:       If you look at the first page,
  4      the next to last paragraph, do you see where it says:
  5      "Today's arrests mark the first time Sheriff's deputies
  6      have taken into custody an owner/employer on criminal
  7      charges relating to identity theft for purposes of
  8      employing undocumented persons."
  9           A.      Yes.
 10           Q.      Do you have any reason to disagree with that
 11      statement?
 12                       MS. IAFRATE:      Form.
 13                       THE WITNESS:     No.    That's what it says.
 14           Q.      BY MR. JACOB:       Okay.   Would you agree that that
 15      statement means that while you were at the CEU, you did
 16      not arrest any employers on criminal charges relating to
 17      identity theft?
 18                       MS. IAFRATE:      Form.
 19                       THE WITNESS:     We arrested a -- now that I
 20      recall, we arrested a -- I believe she was a general
 21      manager of the employer who had the hiring rights to --
 22      of that employer, had the right to hire.             And we did
 23      arrest someone.
 24           Q.      BY MR. JACOB:       Just one person?
 25           A.      That I recall.




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                                 (480) 429-7573
      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 209 of 232
                                                                             69
DEPOSITION OF Cesar Brockman, 8/16/2016


  1                            CERTIFICATE
  2               BE IT KNOWN that the foregoing deposition was
         taken by me pursuant to notice; that I was then and there
  3      a Certified Reporter for the State of Arizona; that the
         witness, before testifying, was duly sworn to testify to
  4      the whole truth; that the questions propounded to the
         witness and the answers of the witness thereto were taken
  5      down by me in shorthand and thereafter transcribed
         through computer-aided transcription under my direction;
  6      that the witness will read and sign said deposition; that
         the foregoing pages are a true and correct transcript of
  7      all proceedings had, all done to the best of my skill and
         ability.
  8
  9               I FURTHER CERTIFY that I am in no way related to
         any of the parties hereto, nor am I in any way interested
 10      in the outcome hereof.
 11
                  I FURTHER CERTIFY that I have complied with the
 12      ethical obligations set forth in ACJA 7-206(J)(1)(g)(1)
         and (2).
 13
 14               DATED at Phoenix, Arizona, this 15th day of
         August, 2016.
 15
 16
 17                                  __________________________________
                                     CAROLYN T. SULLIVAN, RPR
 18                                  Arizona CR No. 50528
 19
                  I CERTIFY that this Registered Reporting Firm
 20      has complied with the ethical obligations set forth in
         ACJA Sections (J)(1)(g)(1) and (2).
 21
 22
 23                                  __________________________________
                                     CARRIE REPORTING, LLC
 24                                  Registered Reporting Firm R1064
                                     CARRIE A. CARIATI, Owner
 25



                     CARRIE REPORTING, LLC - Certified Reporters
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                          EXHIBIT 22
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                                                                  Page 1
                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ARIZONA


       BRET FRIMMEL; PISHKA, INC.;        )
       and BRF ENTERPRISES, LLC;          )
       LISA AND WILLIAM BRUCE             )
       NORTON, wife and husband,          )
                                          )
                 Plaintiffs,              )
                                          )
                      vs.                 )   No. 2-15-cv-00087-SPL
                                          )
       JOSEPH M. AND AVA ARPAIO,          )
       et al.,                            )
                                          )
               Defendants.                )
       ___________________________        )




                  VIDEO DEPOSITION OF JOSHUA HENDERSON

                              Phoenix, Arizona
                               July 13, 2016
                                 9:29 A.M.




     Prepared by:                              CARRIE REPORTING, LLC
     MICHAELA H. DAVIS                         Certified Reporters
     Registered Professional Reporter          4032 North Miller Road
     Certified Realtime Reporter               Suite A-100
     Certified LiveNote Reporter               Scottsdale, AZ 85251
     AZ CR No. #50574                          (480) 429-7573


     (COPY)
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 212 of 232

                                                                Page 14
 1   BY MR. JACOB:
 2       Q.     Okay.    When did you start to work at the CEU?
 3       A.     I believe it was October of 2012.
 4       Q.     And when did you leave the CEU?
 5       A.     It was December 2014, I want to say.
 6       Q.     Why did you leave the CEU?
 7       A.     I was promoted.
 8       Q.     What was -- what were your assignments or duties
 9   when you worked in the CEU?
10       A.     I was given the position of detective and
11   investigated businesses that we had information that might
12   be having workers there that were utilizing other people's
13   Social Security numbers to work there.
14       Q.     And you were the lead investigator in some of
15   these cases?
16       A.     Yes.
17       Q.     How many?
18       A.     Two that I can recall.
19       Q.     One of them was the Uncle Sam's restaurant?
20       A.     Yes.
21       Q.     And what was the other one?
22       A.     I don't -- I don't recall what the name of that
23   one was.
24       Q.     Were you a detective prior to being assigned to
25   the CEU?
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 213 of 232

                                                               Page 164
 1       Q.     So if you put Mr. Frimmel into handcuffs, was it
 2   because being the owner of a restaurant that had workers
 3   without proper identification was reason to put him into
 4   handcuffs?
 5                   MS. IAFRATE:     Form.
 6                   THE WITNESS:     I don't know.    I mean, you're
 7   asking me to -- what I -- what I -- or if I told somebody
 8   to put him in handcuffs, because I don't know.          But in
 9   that situation back then, which I can't really recall, I
10   would have to be -- I would have to be in that situation
11   to be able to answer that question, is what I'm telling
12   you.
13   BY MR. JACOB:
14       Q.     Do you recall whether Mr. Frimmel complained
15   about discomfort in the handcuffs?
16       A.     I don't recall.
17       Q.     Have you ever put a person into handcuffs who
18   was too big whose arms you couldn't get around to fit into
19   one pair of handcuffs?
20       A.     I don't recall.
21       Q.     You've never had that problem?
22       A.     I don't -- I don't remember.        I don't recall.
23       Q.     Have you been taught that some people can have
24   shoulder problems if you pull their arms too tight behind
25   them to fit into a single pair of handcuffs?
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 214 of 232

                                                               Page 165
 1        A.     I don't recall being taught that.
 2                    (Deposition Exhibit No. 15 was marked for
 3   identification by the reporter.)
 4   BY MR. JACOB:
 5        Q.     Do you recognize this document?
 6        A.     I believe so, yes.
 7        Q.     What is it?
 8        A.     It's a -- it's a letter from the law offices of
 9   John Penner regarding Frimmel's missing property.
10        Q.     What did you think of when you got this letter?
11        A.     I don't know.     I don't recall.
12        Q.     Were you surprised that someone would be
13   released from jail and they wouldn't get their property
14   back?
15                    MS. IAFRATE:    Form.
16                    THE WITNESS:    I don't know.
17   BY MR. JACOB:
18        Q.     Did it strike you as, well, that's just the way
19   we do things here?
20                    MS. IAFRATE:    Form.
21                    THE WITNESS:    Are you asking me how I feel
22   about that question now or back then?
23   BY MR. JACOB:
24        Q.     Then.
25        A.     No, I don't know.
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                                                               Page 176
 1        A.     Then yes.
 2        Q.     Okay.   And now my question is, who were they
 3   defrauding?
 4                    MS. IAFRATE:    Form, foundation.
 5                    THE WITNESS:    The organization.
 6   BY MR. JACOB:
 7        Q.     The employer?
 8        A.     Yes.
 9                    MR. JACOB:    Thank you.
10                    MS. BURGESS:    Form.
11                    MR. JACOB:    No more questions.
12                        E X A M I N A T I O N
13   BY MS. IAFRATE:
14        Q.     Are you aware of a policy that if you transport
15   a prisoner, they have to be handcuffed?
16        A.     Yes.
17        Q.     Is that your standard practice?
18        A.     Yes.
19        Q.     Is that the MCSO practice?
20        A.     Yes.
21        Q.     So regardless of whether it's a misdemeanor or
22   felony, if you're going to transport, the prisoner needs
23   to be handcuffed; correct?
24        A.     Correct.
25                    MS. IAFRATE:    I have nothing else.
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                                                                  Page 1
                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ARIZONA



       BRET FRIMMEL; PISHKA, INC.;        )
       and BRF ENTERPRISES, LLC;          )
       LISA AND WILLIAM BRUCE             )
       NORTON, wife and husband,          )
                                          )
                 Plaintiffs,              )
                                          )
                      vs.                 )   No. 2-15-cv-00087-SPL
                                          )
       JOSEPH M. AND AVA ARPAIO,          )
       et al.,                            )
                                          )
               Defendants.                )
       ___________________________        )




                  VIDEO DEPOSITION OF JOSEPH M. ARPAIO

                              Phoenix, Arizona
                               June 28, 2016
                                 9:34 a.m.




     Prepared by:                              CARRIE REPORTING, LLC
     MICHAELA H. DAVIS                         Certified Reporters
     Registered Professional Reporter          4032 North Miller Road
     Certified Realtime Reporter               Suite A-100
     Certified LiveNote Reporter               Scottsdale, AZ 85251
     AZ CR No. #50574                          (480) 429-7573


     (COPY)
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                                                                  Page 8
 1                   MR. SILVER:     Yes.   Yeah.   That'll --
 2                   MR. EAVES:    Thank you.
 3                   MR. SILVER:     That'll make things a lot
 4   easier.
 5   BY MR. SILVER:
 6         Q.   Do you have any input into the -- or I'm sorry.
 7   Let me ask that differently.
 8              What is your input into the county board's
 9   budgeting process for the Sheriff's Office?
10                   MS. IAFRATE:     Form.
11                   THE WITNESS:     Well, we have our own
12   financial people who coordinate with the county people and
13   negotiate somewhat the budget.
14   BY MR. SILVER:
15         Q.   Do you ever participate in the negotiation of
16   the budget?
17         A.   Very seldom.
18         Q.   What would cause you to have to participate in
19   the negotiation of the budget?
20                   MS. IAFRATE:     Form.
21                   THE WITNESS:     Well, I don't think there's
22   any cause.    I delegate that authority to my subordinates.
23   BY MR. SILVER:
24         Q.   At what level subordinates do you delegate that
25   to?
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 219 of 232

                                                                Page 12
 1         Q.   Your training.
 2         A.   I think I get it from the Constitution as the
 3   elected sheriff.
 4         Q.   Okay.
 5         A.   Not the Cons- -- as the elected sheriff.
 6         Q.   You get your power from the -- from the --
 7         A.   Yes.    I don't have any formality where I have to
 8   do to train.
 9         Q.   Where you have --
10         A.   But I do keep abreast somewhat of training.
11         Q.   Let me get more specific.
12              How do you keep abreast of changes in the law
13   that are relevant to your job?
14         A.   Well, usually I have personnel that may advise
15   me.   But let me just summarize.       I delegate to my staff.
16   We have almost 4,000 employees, so much of my work is
17   delegated.
18         Q.   What is the -- what is the role of the Maricopa
19   County Attorney's Office in making sure that you and
20   your -- your staff are up to date on changes in the law or
21   Supreme Court holdings and things like that?
22                   MS. IAFRATE:     Form.
23                   THE WITNESS:     Well, once again, I'm sure
24   that our personnel coordinate with the prosecutors doing
25   investigations.     Or if court decisions come out, I'm sure
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 220 of 232

                                                                Page 13
 1   that the county attorney would let my office know.
 2   BY MR. SILVER:
 3       Q.     Okay.    Does someone brief you on important court
 4   decisions that come out?
 5       A.     No.
 6       Q.     Do you read them yourself?
 7       A.     No.   Not normally.     Some I do.
 8       Q.     Do you read the ones that would most directly
 9   relate to the performance of your duties?         Or how do you
10   decide which ones you're going to read?
11                    MS. IAFRATE:    Form.
12                    THE WITNESS:    Once again, I delegate to my
13   subordinates.    If they think that I should know some
14   situation, they will let me know.
15   BY MR. SILVER:
16       Q.     Can you just briefly take me through your -- the
17   training -- your work history?       Which we know; it's
18   publicized.    But I want to know what kind of training
19   you've had as a police officer and as a federal agent over
20   the years specifically relevant to the question of
21   determining when there's probable cause for an arrest.
22   Can you take me through that?
23       A.     Do you want my resume?        Is that what you're
24   trying to say?
25       Q.     I mean --
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 221 of 232

                                                                Page 15
 1                    MS. IAFRATE:    Form.
 2                    THE WITNESS:    Most of it was when I was with
 3   the US Drug Enforcement Administration, plus sheriff.
 4   BY MR. SILVER:
 5       Q.     24 years now, Sheriff?
 6       A.     At the end of this year.
 7       Q.     What was your role as regards the Maricopa
 8   County sheriff's human smuggling unit?
 9       A.     Still acting as the Sheriff and delegating most
10   of the activity, once again, to my subordinates.
11       Q.     Same question for the criminal employment unit?
12       A.     Yes.
13       Q.     Same answer, I guess.       Yeah.
14              When you say you delegate most -- most of that
15   to the -- I'm sorry.
16              You said you delegate most of your
17   responsibility to your subordinates?
18                    MS. IAFRATE:    Form.
19   BY MR. SILVER:
20       Q.     Is that the word you used?
21       A.     No.    I delegate the -- the subject matter to my
22   subordinates, and they carry out the -- if you want to
23   talk about investigations, they carry out investigations.
24       Q.     Okay.    What would be, I would say, comparable
25   subject matter units within the Sheriff's Office other
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 222 of 232

                                                                Page 20
 1   whether to proceed with a raid, or did they have to get
 2   your approval for that?
 3                    MS. IAFRATE:    Form.
 4                    THE WITNESS:    No, they don't get my
 5   approval.
 6   BY MR. SILVER:
 7        Q.     What role do you play in deciding whether there
 8   is or isn't going to be a raid when the information is
 9   presented to you?
10                    MS. IAFRATE:    Form.
11                    THE WITNESS:    I don't play any role.       I say
12   I delegate.    Those are decisions made by my subordinates.
13   BY MR. SILVER:
14        Q.     Are you advised prior to these raids?
15                    MS. IAFRATE:    Form.
16                    THE WITNESS:    On occasion, yes.
17   BY MR. SILVER:
18        Q.     If you were present at a raid, certainly you
19   were advised that the raid was going to happen?
20                    MS. IAFRATE:    Form.
21                    THE WITNESS:    What was that?
22   BY MR. SILVER:
23        Q.     If it turns out that you were actually present
24   when a raid occurred, then obviously someone had advised
25   you that the raid was going to occur in advance; correct?
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 223 of 232

                                                                Page 21
 1                    MS. IAFRATE:    Form.
 2                    THE WITNESS:    Yes.
 3   BY MR. SILVER:
 4        Q.    All right.     Do you have -- would that -- would
 5   the fact that you were present at a raid indicate that you
 6   had approved the raid?
 7        A.    No.
 8        Q.    So you have -- has there ever been an instance
 9   where you have been informed of a potential raid, and -- I
10   said vetoed it or told them, "No, I don't want you to go
11   through with this"?
12                    MS. IAFRATE:    Form.
13                    THE WITNESS:    I can't recall.
14   BY MR. SILVER:
15        Q.    Do you have that authority?
16        A.    Yes.
17        Q.    And the chief deputies know that you have the
18   authority to veto a raid if you don't think, for example,
19   that there is cause for a raid?
20                    MS. IAFRATE:    Form, foundation.
21                    THE WITNESS:    Well, I think they know who
22   the Sheriff is and -- but I do not get involved in their
23   nuts and bolts; that's my management's job.          Once again, I
24   delegate to them, and they make the decision.
25   //
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 224 of 232

                                                                Page 34
 1                   MS. IAFRATE:     Form.
 2                   THE WITNESS:     Once again, it would be the
 3   supervisors.    If it had to do with any other situation, it
 4   would probably be internal affairs.
 5   BY MR. SILVER:
 6       Q.     What brings something up to the level of having
 7   to be dealt with by internal affairs?
 8                   MS. IAFRATE:     Form.
 9                   THE WITNESS:     Well, I don't have it broken
10   down, but usually if there's a complaint and it reaches a
11   level where my people think it should be internal affairs.
12   So they make the decisions, not me.
13   BY MR. SILVER:
14       Q.     At what level is that decision made?         Is that
15   immediate supervisor, or is that a level higher that makes
16   the decision to refer something to internal affairs?
17       A.     I believe it goes up through the chain.          Maybe
18   up to captain or whatever.
19       Q.     Can you tell me anything about how the criminal
20   employment unit selected targets of its investigation from
21   2012 to 2015?
22                   MS. IAFRATE:     Form.
23                   THE WITNESS:     Once again, I'm -- that's up
24   to the specialists that work that type of operation.              And
25   I delegate to them, and they make the decision as to when,
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 225 of 232

                                                                Page 48
 1   magistrate judge despite knowing that they didn't have
 2   adequate evidence so they added some statements to the
 3   affidavit that weren't true to get the arrest warrant,
 4   would you expect that deputy to be disciplined?
 5                   MS. IAFRATE:     Form.
 6                   THE WITNESS:     Once again, I'm going to say
 7   it again, that I delegate that authority to my
 8   subordinates.    I don't get involved in the nuts and bolts
 9   of the investigations.      I have confidence in my staff, and
10   they take care of these matters.
11   BY MR. SILVER:
12       Q.     But your expectation is they would take care of
13   that matter?
14       A.     I would imagine they would, yes.
15       Q.     You wouldn't put up with deputies lying to
16   judges to get arrest warrants.       That's not the way you
17   want your office to run.
18       A.     That's correct.
19                   MS. IAFRATE:     Form.
20   BY MR. SILVER:
21       Q.     Are you familiar with the immigration hotline --
22   or the immigration tip hotline.        There was a dyslexic
23   typist.
24       A.     Yes, I believe we had a hotline for several
25   years.
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 226 of 232

                                                                Page 80
 1   BY MR. SILVER:
 2       Q.     Did you have any input into the timing of either
 3   the raid at Uncle Sam's or the arrest of Mr. Frimmel and
 4   Ms. Norton?
 5       A.     No.
 6       Q.     Who would have determined the timing of each of
 7   those things?
 8                    MS. IAFRATE:    Form.
 9                    THE WITNESS:    I would presume it's in the
10   course of an investigation as to when they decided to
11   conclude it.     I don't know as at -- as far as timing is
12   concerned.
13   BY MR. SILVER:
14       Q.     Are you familiar with a thing called a notice of
15   claim statute?
16       A.     Yes.
17       Q.     Tell me what you understand about how that
18   works.
19       A.     Once again, I'm not a legal guy, but I presume
20   when someone sues, they file a notice of claim, and I
21   believe they try to settle the case, I'm not sure.           And
22   then I guess the -- the lawsuit follows.
23       Q.     Do you know how many days after an incident
24   occurs a person has to file a notice of claim?
25       A.     No.    I could guess at 30, 90 days.       I don't
Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 227 of 232

                                                                  Page 81
 1   know.
 2       Q.     Did anyone advise you that the Department of
 3   Justice had reached out to Mr. Frimmel to assist him in
 4   their investigation of your office?
 5       A.     No.
 6       Q.     As the criminal case went on against Mr. Frimmel
 7   and Ms. Norton, did your office initiate other
 8   investigations related to any of the players in that
 9   criminal proceeding, including the lawyers?
10                    MS. IAFRATE:    Form.
11                    THE WITNESS:    Can you repeat that?
12   BY MR. SILVER:
13       Q.     Did anyone in the Sheriff's Office start an
14   investigation of Paul Charlton as a result of the defense
15   raised?
16       A.     Not that I know.
17       Q.     Not that you would mind.
18                    MS. IAFRATE:    Not a question, Sheriff.
19                    MR. SILVER:    It's a comment.     He was
20   chuckling about that.
21   BY MR. SILVER:
22       Q.     But -- so of anybody else?        You know, nobody
23   started an investigation of Paul Charlton, no one started
24   investigating me or the judge or anything like that?
25       A.     No.
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                          EXHIBIT 24
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            IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF ARIZONA


LISA NORTON, et al.,                    )
                                        )
       Plaintiffs,                      )
                                        )
vs.                                     ) No. CV
                                        ) 15-00087-PHX-SPL
JOSEPH M. ARPAIO, et al.,               )
                                        )
       Defendants.                      )
                                        )




        VIDEOTAPED DEPOSITION OF LISA ANNE NORTON



                       Phoenix, Arizona
                       October 17, 2016




Reported by:     Cathy A. Miccolis, RPR/CRR
Certified Reporter, No. 50068
      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 231 of 232
Norton v. Arpaio                                               Lisa Anne Norton

                                                                         Page 78
  1          A.     He is Bret's cousin.
  2          Q.     Oh, okay.    Have you ever socialized with
  3   Mr. Bratspis?
  4          A.     No.
  5          Q.     I know I'm butchering his name as much as you.
  6          A.     (Laughter.)
  7          Q.     Since 2010 to current day, you continued to be
  8   paid for your work for the Uncle Sam's restaurants?
  9          A.     I'm sorry.    Repeat that?
 10          Q.     Was there ever a time that payment was no
 11   longer provided to you for your work at Uncle Sam's?
 12          A.     No.
 13          Q.     Are you currently working?
 14          A.     Yes.
 15          Q.     Do you continue to get paid?
 16          A.     Yes.
 17          Q.     You told me that the phone that you have is
 18   paid for by Mr. Frimmel's entities; correct?
 19          A.     Yes.
 20          Q.     How about, do you have a car allowance?
 21          A.     No.
 22          Q.     Did you have a car allowance at any time?
 23          A.     No.
 24          Q.     How about, do you get reimbursed for mileage?
 25          A.     No.



                  BAMFORD REPORTING SERVICE 602-265-5974
      Case 2:15-cv-00087-SPL Document 213-4 Filed 03/09/18 Page 232 of 232
Norton v. Arpaio                                               Lisa Anne Norton

                                                                        Page 115
  1   STATE OF ARIZONA              )
                                    )   ss.
  2   COUNTY OF MARICOPA            )
  3                BE IT KNOWN that the foregoing deposition was
  4   taken before me, Cathy A. Miccolis, RPR, a Certified
  5   Reporter, Certificate #50068, for the State of Arizona,
  6   and by virtue thereof authorized to administer an oath;
  7   that the witness before testifying was duly sworn by me to
  8   testify to the whole truth; that the questions propounded
  9   to the witness and the answers of the witness thereto were
 10   taken down by me in shorthand and thereafter reduced to
 11   print by computer-aided transcription under my direction;
 12   that pursuant to request, notification was provided that
 13   the deposition is available for review and signature; that
 14   the transcript consisting of 115 pages is a full, true and
 15   accurate transcript of all proceedings and testimony had
 16   and adduced upon the taking of said deposition, and
 17   preparation, production and distribution of the transcript
 18   and copies comply with law and code as required by ACJA
 19   7-206(F)(3), all done to the best of my skill and ability.
 20            I FURTHER CERTIFY that I am in no way related to
 21   nor employed by any of the parties hereto nor am I in any
 22   way interested in the outcome hereof.
 23   DATED at Phoenix, Arizona, October 24, 2016.
 24   ____________________________             ________________________
      Bamford Reporting Service, Inc.          Cathy A. Miccolis, RPR/CRR
 25                                            Certified Reporter #50068



                BAMFORD REPORTING SERVICE 602-265-5974
